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REVOLVING CREDIT AGREEMENT

 

THIS REVOLVING CREDIT AGREEMENT, dated effective as of December 18 2014,
is entered into between NBI PROPERTIES, INC. and N B I SERVICES, INC., each an
Oklahoma corporation (individually and collectively, the "Borrower"), the Lenders signatory
parties hereto (collectively, the "Lenders") and CROSSFIRST BANK, a state banking
corporation, as administrative agent and collateral agent for the Lenders signatory hereto from
time to time (the "Agent").

RECITALS:

A. Borrower has requested the Lenders and the Agent to refinance Borrower's
existing revolving credit facility with its existing group of lenders (the "Existing Lenders") by
establishing in favor of the Borrower a revolving line of credit facility in the maximum amount
of $75,000,000.00, subject to the Revolver Commitrnent Amount (initially stipulated to be
$50,000,000.00) until December 15, 2016 (the "Revolving Credit Comrnitment"), to be
evidenced by Borrower’s promissory notes payable to the order of the Lenders and dated as of
even date herewith (collectively, the "Revolver Notes"), the proceeds of which are to be used for,
among other things, (a) refinancing the existing aggregate outstanding principal balance of the
promissory notes issued to the Existing Lenders and all undrawn amounts on unexpired letters of
credit issued thereby as of the Closing Date, (b) acquisition of oil and natural gas reserves, (c)
funding work-overs, enhancements and development of oil and gas properties in the normal
course of business, (d) general working capital and oil and gas capital expenditures, and (e)
issuance of standby letters of credit required in Borrower's business operations; and

B. Lenders are willing, by this Revolving Credit Agreement, to establish in favor of
Borrower the Revolving Credit Comrnitment for two (2) years until December 15, 2016, in the
maximum outstanding principal amount of $75,000,000.00 in payment and refinancing of the
aggregate outstanding principal balance of the Revolving Loan made by the Existing Lenders, in
favor of the Borrower and for the purposes specified in clauses (b) through (e) of Recital A
above, all upon the terms and conditions herein set forth, and upon Borrower’s granting in favor
of Agent, for the benefit of the Lenders, a continuing and continuous first and prior mortgage
lien, pledge of and security interest in certain oil and gas leasehold, mineral and mining interests,
all as more particularly described and defined in the Mortgages (as hereinafter defined), as
collateral and security for all indebtedness incurred pursuant to the Revolving Credit
Comrnitment;

NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, and other good and valuable consideration, receipt of which is acknowledged
by the parties hereto, the parties agree as follows:

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When used herein, the following terms shall have the following meanings:

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EXH|B|T 1

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"Ad]'usted Gross Proceeds" shall mean (i) all proceeds received by the Borrower during
the applicable period, whether directly or indirectly, from purchasers of Hydrocarbons produced
from the Mortgaged Property, plu_s_ (ii) all amounts which the Borrower was entitled to receive
during such period but which were offset by the purchaser of production or an intermediary
against obligations (other than ordinary operating expenses) owing by the Borrower; le_ss_ the
amount of all gathering, severance and windfall profits taxes required to be paid by the Borrower
with respect to said proceeds and all royalty and overriding royalty payments to third parties and
all ordinary and necessary operating expenses paid by the Borrower with respect to the
Mortgaged Property, excluding only such expenses that (i) qualify as capitalized items under
generally accepted accounting principles ("GAAP") or (ii) are defined or described in the energy
industry as work-over expenses or costs.

"Aftiliate" shall mean any Person which, directly or indirectly, controls, or is controlled
by, or is under common control with, another Person and any partner, officer or employee of any
such Persons. For purposes of this definition, "control" shall mean the power, directly or
indirectly, to direct or in effect cause the direction of the management and policies of such
Person whether by contract or otherwise

"Agent" shall mean CrossFirst Bank, or its successor and permitted assigns.

"Ag@ment" shall mean this Revolving Credit Agreement, as amended, restated,
supplemented or otherwise modified from time to time.

"Applicable Prime Rate" shall mean the annual rate of interest published in the "Bonds,
Rates and Yields" section of the money rates colunm of lee Wall Street Journal (Southwest
Edition) from time to time. Such Applicable Prime Rate may be adjusted from time to time
throughout the term of the Loan or Loans governed hereby and/or evidenced by the Revolver
Notes, and any change in such Applicable Prime Rate due to a change in such announced and/or
published rate shall be effective on the day of the announced change in such Applicable Prime
Rate. Such rate shall not necessarily be its "best" or lowest rate and the Agent may make or offer
loans from time to time based or priced on other rates or indices. Should the Applicable Prime
Rate cease to be announced or published by the Agent or otherwise cease to be available, then
the Applicable Prime Rate shall be a substitute index selected or designated by the Agent in its
reasonable discretion and concerning which the Borrower shall be provided notice.

"Business Da " shall mean a day other than a Saturday, Sunday or a day upon which
banks in the State of Oklahoma are closed to business generally.

"Cash Eguivalents" means (a) any readily-marketable securities (i) issued by, or directly,
unconditionally and fully guaranteed or insured by the United States federal government or
(ii) issued by any agency of the United States federal government the obligations of which are
fully backed by the full faith and credit of the United States federal government, (b) any Dollar-
denominated time deposit, insured certificate of deposit, overnight bank deposit or bankers‘
acceptance issued or accepted by (i) Agent or any Lender or (ii) any commercial bank that is
(A) organized under the laws of the United States, any state thereof or the District of Columbia,
(B) "adequately capitalized" (as defined in the regulations of its primary federal banking
regulators) and (C) has Tier 1 capital (as defined in such regulations) in excess of $500,000,000

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and (c) shares of any United States money market fund that (i) has substantially all of its assets
invested continuously in the types of investments referred to in clause (a) or (b) above with
maturities as set forth in the proviso below, (ii) has net assets in excess of $500,000,000 and (iii)
has obtained from either S&P or Moody‘s the highest rating obtainable for money market funds
in the United States; provided, however, that the maturities of all obligations specified in any of
clauses (a) or (b) above shall not exceed 365 days.

"CERCLA" shall mean the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, as amended, together with all regulations and rulings promulgated with
respect thereto.

"Closing Date" shall mean the effective date of this Agreement,
"Collateral" shall have the meaning assigned to that term in Article III of this Agreement,

"Collateral Borrowing Base" shall have the meaning assigned to the term in Section 4.1
of this Agreement.

"Default Rate" shall mean the then applicable per annum contract rate of interest
specified in Section 2.2 pg four percentage points (4%).

"EBI'I'DAX" shall mean for any period, the sum of Borrower's consolidated net income
for the period minus any non~recurring gains (losses) from the sale of assets (other than
Hydrocarbons in the ordinary course of business), plus the following charges to the extent
deducted from net income in such period: interest, income taxes (including franchise taxes
calculated with respect to income), depreciation, depletion and amortization, and any other non-
cash charges and non-cash revenues (including, by way of example and not by way of limitation,
intangible drilling costs and lease impairment expenses and write downs from impairment of oil
and gas properties) and after eliminating extraordinary items. In addition, for any applicable
period during which an acquisition or disposition permitted by this Agreement is consummated,
EBITDAX shall be determined on a pro forma basis (with such calculation to be acceptable to,
and approved by, the Agent in its reasonable discretion) as if such acquisition or disposition were
consummated on the first day of such applicable period.

"Environrnental Laws" shall mean Laws, including without limitation federal, state or
local Laws, ordinances, rules, regulations, interpretations and orders of courts or administrative
agencies or authorities relating to pollution or protection of the environment (including, without
limitation, ambient air, surface water, groundwater, land surface and subsurface strata), including
without limitation CERCLA, SARA, RCRA, HSWA, OPA, HMTA, TSCA and other Laws
relating to (i) Polluting Substances or (ii) the manufacture, processing, distribution, use,
treatrnent, handling, storage, disposal or transportation of Polluting Substances.

"ERISA" shall mean the Federal Employee Retirement lncome Security Act of 1974, as
amended, together with all regulations and rulings promulgated with respect thereto.

"Event of Default" shall mean any of the events specified in Section 8.1 of this
Agreement, and "Default" shall mean any event, which together with any lapse of time or giving
of any notice, or both, would constitute an Event of Default hereunder, under the Guaranties of

 

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any of Richard J. Nichols, Orville B. Nichols, or Nichols Brothers, Inc. “(NB”), or such other
Mortgagor Aftiliates, or under any of the other Loan Documents.

"Excluded Cash" shall mean cash maintained in any of Borrower's or the Mortgagor
Affiliates’ bank accounts for royalty owners and other working interest owners not affiliated
with Borrower or the Mortgagor Affiliates.

"Excluded Swap Obligations" (a) with respect to any Guarantor, any Swap Obligation if,
and to the extent that, all or a portion of the guarantee of such Guarantor of, or the grant by such
Guarantor of a security interest to secure, as applicable, such Swap Obligation (or any guarantee
thereof) is or becomes illegal under the Commodity Exchange Act or any rule, regulation, or
order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) and (b) with respect to any Borrower, any Swap Obligation of
another Borrower or Guai'antor if, and to the extent that, all or a portion of the joint and several
liability of such Borrower with respect to, or the grant of such Borrower of a security interest to
secure, as applicable, such Swap Obligation is or becomes illegal under the Commodity
Exchange Act or any rule, regulation, or order of the Commodity Futures Trading Commission
(or the application or official interpretation of any thereof), by virtue of such Guarantor's (in the
case of (a)) or Borrower‘ (in the case of (b)) failure to constitute an "eligible contract
participant," as defined in the Commodity Exchange Act and the regulations thereunder, at the
time the guarantee of such Guarantor, joint and several liability of such Borrower, or grant of
such security interest by such Guarantor or Borrower, as applicable, becomes or would become
effective with respect to such Swap Obligation. lf a Swap Obligation arises under a master
agreement governing more than one Swap Obligation, such exclusion shall apply only to the
portion of such Swap Obligation that is attributable to Swap Obligations for which such
guarantee or security interest or joint and several liability, as applicable, is or becomes illegal.

"Funded Debt" shall mean, without duplication, the sum of: (i) all indebtedness of the
Borrower, for borrowed money including, but not limited to, senior bank debt, senior notes,
subordinated debt, bonds, debentures or similar instruments, or upon which interest payments are
customarily made; (ii) the principal portion of all obligations under capital leases of Borrower;
(iii) the maximum available amount of all issued and outstanding standby or other letters of
credit or acceptances; (iv) all Funded Debt of another Person secured by a Lien on any property
of Borrower and its subsidiaries, whether or not such Funded Debt has been assumed; and (v)
contingent obligations of Borrower and its subsidiaries, for Funded Debt of the types described
in clauses (i) through and including (v) above.

"Funded Debt to EBlTDAX Ratio" shall mean, as of any quarterly calculation date, the
ratio of (i) Borrower's Funded Debt to (ii) Borrower's EBITDAX for the then most-recently
ended fiscal quarter (on an annualized basis).

"Guaranty Obligation" as to any Person (the "guaranteeing person"), any obligation,
including a reimbursement, counterindemnity or similar obligation, of the guaranteeing Person
that guarantees or in effect guarantees, or which is given to induce the creation of a separate
obligation by another Person (including any bank under any letter of credit) that guarantees or in
effect guarantees, any Indebtedness, leases, dividends or other obligations (the "primary
obligations") of any other third Person (the "primary obligor") in any manner, whether directly or

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indirectly, including any obligation of the guaranteeing person, whether or not contingent, (i) to
purchase any such primary obligation or any property constituting direct or indirect security
therefor, (ii) to advance or supply funds (l) for the purchase or payment of any such primary
obligation or (2) to maintain working capital or equity capital of the primary obligor or otherwise
to maintain the net worth or solvency of the primary obligor, (iii) to purchase property, securities
or services primarily for the purpose of assuring the owner of any such primary obligation of the
ability of the primary obligor to make payment of such primary obligation or (iv) otherwise to
assure or hold harmless the owner of any such primary obligation against loss in respect thereof;
provided, however, that the term Guaranty Obligation shall not include endorsements of
instruments for deposit or collection in the ordinary course of business For the avoidance of
doubt, for purposes of determining any Guaranty Obligations of any Guarantor pursuant to the
Security Documents, the definition of "Specified Swap Agreement" shall not create any
guarantee by any Guarantor of (or grant of security interest by any Guarantor to support, if
applicable) any Excluded Swap Obligation of such Guarantor.

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Guaranty shall mean each Guaranty instrument executed by the Guarantors and
delivered to the Agent to secure the Indebtedness.

"Guarantors" shall mean Richard J. Nichols and Orville B. Nichols, each in his individual
capacity, and NB and such other Affiliates of the Borrower that as Mortgagor Affiliates are
mottgagors, grantors or debtors signatory party to one or more Security lnstruments, including
present or future subsidiaries of Borrower signatory part(ies) to any of the Mortgages from time
to time.

"hereby", "herein", "hereof", "hereunder" and similar such terms shall mean and refer to
this Agreement as a whole and not merely to the specific section, paragraph or clause in which
the respective word appears

"HMTA" shall mean the Hazardous Materials Transportation Act, as amended, together
with all regulations and rulings promulgated with respect thereto.

"HSWA" shall mean the Hazardous and Solid Waste Amendments of 1984, as amended,
together with all regulations and rulings promulgated with respect thereto.

'Hedge Agreement" shall mean any interest rate Swap, cap or collar agreements,
commodity price, interest rate and/or oil and gas future or option contracts, currency Swap
agreements, currency future or option contracts and other similar ISDA Agreement or
hedging/derivative agreements, and included without limitation the ISDA Agreement and related
schedules and documents entered into with the Swap Counterparty and Borrower or Mortgagor
Affiliate fi‘om time to time and as governed by the Intercreditor Agreement "Hedge
Transaction" means a transaction pursuant to which Borrower hedges the price to be received by
it for future production of its Hydrocarbons, including price Swaps under which Borrower agrees
to pay a price for a specified amount of Hydrocarbons determined by reference to a recognized
market on a specified future date and the contracting party agrees to pay Borrower a fixed price
for the same or similar amount of Hydrocarbons. "Prohibited Hedge Transactions" shall mean
transactions pursuant to which the Borrower or one of the Mortgagor Affiliates is entering into or
becomes obligated to enter into both physical and financial hedging transactions effective at

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concurrent or overlapping periods of time on the same volumes of production or transactions that
are speculative hedging in nature or purpose that are not tied to physical purchase/sale
transactions of production or volumes of oil and/or gas.

"Hydrocarbons" shall have the meaning assigned to that term in the Mortgages.

"Indebtedness" shall mean and include any and all: (i) indebtedness obligations and
liabilities of the Borrower to the Agent and/or the Lenders incurred or which may be incurred or
purportedly incurred hereafter pursuant to the terms of this Agreement, or any of the other Loan
Documents, and any replacements, amendments, extensions, renewals, substitutions,
amendments and increases in amount thereof, including such amounts as may be evidenced by
the Revolver Notes and all lawful interest, late charges, service fees, commitment fees, fees in
lieu of balances, letter of credit fees and other charges, and all reasonable costs and expenses
incurred in connection with the preparation, filing and recording of the Loan Documents,
including attorneys’ fees and legal expenses; (ii) derivative products obligations, direct,
contingent or otherwise, whether now existing or hereafter arising, of the Borrower to the Agent
and/or the Lenders arising under or in connection with any Hedge Agreements or other Risk
Management Agreements to which the Agent or the Swap Counterparty is a counter-party; (iii)
reasonable costs and expenses paid or incurred by the Agent or the Lenders, including attorneys’
fees, in enforcing or attempting to enforce collection of any lndebtedness and in enforcing or
realizing upon or attempting to enforce or realize upon any collateral or security for any
Indebtedness, including interest on all sums so expended by the Agent or the Lenders accruing
from the date upon Which such expenditures are made until paid, at an annual rate equal to the
Default Rate; (iv) all sums expended by the Agent or the Lenders in curing any Event of Default
or Default of the Borrower under the terms of this Agreement the other Loan Documents or any
other writing evidencing or securing the payment of the Revolver Notes together with interest on
all sums so expended by the Agent or the Lenders accruing from the date upon which such
expenditures are made until paid, at an annual rate equal to the Default Rate; and (v) any
overdraft, return items or other ACH obligations now or hereafter owing by Borrower to the
Agent or the Lenders.

"Intercreditor Agreemen " means any lntercreditor Agreement hereafter entered into, as
amended, replaced, restated, supplemented or otherwise modified from time to time, together
with exhibits, schedules, addenda and annexes attached thereto from time to time, between and
among the Swap Counterparty, Borrower and Agent or any Lender, each in their respective roles
thereunder, to govern the relationship of the parties thereto with respect to the priority of
payment of obligations and Liens securing obligations regarding any ISDA Agreement
referenced therein and the other Loan Documents.

" nterest Coverage Ratio" shall mean as of any quarterly calculation date, the quotient of
(i) the Financial Covenant Entities’ (herein defined) consolidated EBlTDAX on an annualized
quarterly basis, divided by (ii) Borrower's consolidated cash Interest Expense for the most recent
twelve (12) month (rolling four (4) quarters) period,

"Interest Expense" means, for any period, Borrower's and Guarantors (excluding only

NB and the individual Guarantors and collectively referred to herein as the "Financial Covenant
Entities") consolidated total accrued or cash expense liability (including that attributable to

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capital lease obligations) for such period due from time to time with respect to all outstanding
indebtedness of Financial Covenant Entities (including commissions, discounts and other fees
and charges owed with respect to letters of credit and bankers' acceptances and net costs under
Swap Agreements in respect of interest rates to the extent such net costs are allocable to such
period in accordance with GAAP), calculated on a consolidated basis for the Financial Covenant
Entities for such period in accordance with GAAP.

"ISDA Agreement" means any Intemational Swap Dealers Association agreement, as
amended, modified, replaced or supplemented from time to time, together with schedules,
exhibi.ts, confirmations, addenda and annexes attached thereto from time to time, entered into
between or among any of the Financial Covenant Entities and a Swap Counterparty, to govern
each Hedge Agreement with such Swap Counterparty,

"Laws" shall mean all statutes, laws, ordinances, regulations, orders, writs, injunctions, or
decrees of the United States, any state or commonwealth, any municipality, any foreign country,
any territory or possession, or any Tribunal.

"Letters of Credit" shall have the meaning assigned to that term in Section 2.5.

"Letter of Credit Exposure" means, at any date, the sum of (i) the aggregate face amount
of all drafts that may then or thereafter be presented by beneficiaries under all Letters of Credit
then outstanding, plu_s, (b) the aggregate face amount of all drafts that the Agent, as letter of
credit issuer, has previously accepted under Letters of Credit but has not paid pl_us_ (c) the
aggregate amount of all unpaid reimbursement obligations in respect of previous drawings made
under all letters of Credit; provided, however; in no event shall the Letter of Credit Exposure
exceed twenty percent (20%) of the lesser of the Collateral Borrowing Base or the Revolving
Credit Commitment amount then in effect

"Letter of Credit lssuer" shall mean CrossFirst Bank or any Affiliate or designee thereof
and the respective successors and assigns thereof.

 

"Lien" shall mean any moitgage, pledge, security interest, assignment, encumbrance, lien
or charge of any kind (including any agreement to give any of the foregoing, any conditional sale
or other title retention agreement, any lease in the nature thereof, and the filing of or agreement
to give any financing statement or other similar form of public notice under the Laws of any
jurisdiction).

"Loan Documents“ shall mean this Agreement, the Revolver Notes, the Security
Instruments (including without limitation, the Mortgage), the Guaranties, any Intercreditor
Agreement and all other documents, instruments and certificates executed and delivered to the
Agent by the Borrower or the Guarantors pursuant to the terms of this Agreement,

"Loans" shall mean the Revolving Credit Loans.

 

"Marketable Assets" shall mean (a) any readily-marketable Securities with maturities
which exceed 365 days (i) issued by, or directly, unconditionally and fully guaranteed or insured
by the United States federal government or (ii) issued by any agency of the United States federal
government the obligations of which are fully backed by the full faith and credit of the United

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States federal government, (b) any readily-marketable direct obligations issued by any other
agency of the United States federal government, any state of the United States or any political
subdivision of any such state or any public instrumentality thereof, in each case having a rating
of at least "A-l" from S&P or at least "P-l" from Moody’s, (c) any commercial paper rated at
least "A-l" by S&P or "P-l" by Moody‘s and issued by any Person organized under the laws of
any state of the United States, and (d) bonds issued by a Person organized under the laws of the
United States, which bonds have a rating of at least BBB+ by S&P or at least Baal by Moody's.

"MCR" shall have the meaning assigned to that term in Section 2.11.

 

"Mortgage(s)" shall have the meaning assigned to that term in Section 3.1 of this
Agreement, including without limitation, any amendments thereto, restatements thereof and/or
supplements thereof.

"Mortgaged Property shall mean the property covered by the Mortgage defined in
Section 3.1 of this Agreement

"Mortgagor Affiliates" shall mean Affiliates of the Borrower that are mortgagors or
grantors signatory party to the Mortgages, including present or future subsidiaries of Borrower
signatory part(ies) to the Mortgages.

"Non-Usage Fee" From the Closing Date to the date the Revolver Commitment expires
or is otherwise terminated, the Borrower shall pay to the Bank quarterly in arrears in
immediately available funds (U.S. Dollars) a fully earned and non-refundable Revolving Credit
Commitment non-usage fee equal to twenty-five basis points (0.25%) per annum of the actual
daily unused portion of the Revolver Commitment Amount (computed on the basis of a calendar
year of 360 days but assessed for the actual number of days elapsed during each quarterly accrual
period) calculated on the average amount thereof in excess of the outstanding principal balance
of the Note plus the Letter of Credit Exposure during such calendar quarter.

"Notes" shall mean the Revolver Notes together with each and every extension, renewal,
modification, replacement, substitution, rearrangement, consolidation and change in form thereof
which may be from time to time and for any term or terms effected.

"OPA" shall mean the Oil Pollution Act of 1990, as amended, together with all
regulations and rulings promulgated with respect thereto.

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'Percentage Interests" shall mean the percentages for (a) Lenders designated on Schedule
Lannexed hereto, subject to (i) the recalculation of the denominator in the event of a Delinquent
Lender insofar as voting rights and pro rata allocation of fees hereunder are concerned during
the pendency of such Delinquent Lender's status, and (ii) the recalculation pursuant to Section
M and (b) Swap Counterparties, the estimated Early Termination Amount calculated by Swap
Counterpaity.

"Person" shall mean and include an individual, a partnership, a joint venture, a
corporation, a trust, an unincorporated organization, and a government or any departrnent,
agency or political subdivision thereof

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Polluting Substances" shall mean all pollutants, contaminants, chemicals or industrial,
toxic or hazardous substances or wastes and shall include, without limitation, any flammable
explosives, radioactive materials, oil, hazardous materials, hazardous or solid wastes, hazardous
or toxic substances or related materials defined in CERCLA/SARA, RCRA/HSWA and in the
HMTA; provided, in the event either CERCLA/SARA, RCRA/I-ISWA or HMTA is amended so
as to broaden the meaning of any term defined thereby, such broader meaning shall apply
subsequent to the effective date of such amendment and, provided further, to the extent that the
Laws of any State or other Tribunal establish a meaning for "hazardous substance, "hazardous
waste," "hazardous material," "solid waste" or "toxic substance" which is broader than that
specified in CERCLA/SARA, RCRAIHSWA, or HMTA, such broader meaning shall apply.

"Qualified ECP Guarantor" means, in respect of any Swap Obligation, Borrower and any
Guarantor that is not an individual or a natural person and that has total assets exceeding
$10,000,000 at the time the relevant Guarantee or grant of the relevant security interest becomes
effective with respect to such Swap Obligation or such other person as constitutes an "eligible
contract participant" under the Commodity Exchange Act o.r any regulations promulgated
thereunder and can cause another person to qualify as an "eligible contract participant“ at such
time by entering into a keepwell under Section laglslgA)§v!g!IL of the Commodity Exchange
Act.

_ "RCRA" shall mean the Resource Conservation and Recovery Act of 1976, as amended,
together with all regulations and rulings promulgated with respect thereto.

'Reguired Lenders" shall mean the Lenders having (without regard to any sale by a
Lender of participation in any Loan under Section 10.3) Percentage lnterests not less than
66.67% of the aggregate Percentage Interests.

"Revolver Commitment Amount" shall mean the Lenders' aggregate Revolving Credit
Commitment amounts set forth on Schedule l from time to time (initially stipulated to be
$50,000,000.00).

"Revolving Credit Commitment" shall mean the Lender’s several (not~joint) obligation to
make the Revolving Credit Loans pursuant to Section 2.1 of this Agreement,

"Revolving Credit Loans" shall have the meaning ascribed to it in Section 2.1 of this
Agreement,

"Revolver Notes" shall have the meaning ascribed to it in the Preamble of this
Agreement, as more fully described and defined in Section 2.2 of this Agreement.

"Risk Management Agreements" shall mean any eommodity, interest rate or currency
Swap, rate cap, rate floor, rate collar, forward agreement or other exchange, price or rate
protection ISDA Agreement, Hedge Agreement or similar derivative agreements or any option
with respect to any such derivative or hedging transaction

"SARA" shall mean the Superfund Amendments and Re-authorization Act of 1987, as
amended, together with all regulations and rulings promulgated with respect thereto.

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"Secu'rig( Instruments" shall mean the Mortgage, any security agreement and all other
financing statements, assignments, pledges, documents or writings and any and all amendments
and supplements thereto, granting, conveying, assigning, transferring or in any manner providing
the Agent with a security interest in any property as security for the repayment of all or any part
of the lndebtedness

"Swap Counterparty" shall mean Cargill incorporated or Macquarie Bank Limited (ABN
46-008-583-542), a bank incorporated under the laws of Australia, or any other hedge provider
acceptable to the Agent and the Borrower, or their respective successors or permitted assigns, in
each case, party to an Intercreditor Agreement

"Swap_s" shall mean, with respect to any Person, any financially settled transactions
including, without limitation, any calls, puts, caps, collars, floors, interest rate swaps, currency
swaps, commodity swaps and similar obligations obligating such Person to make payments,
whether periodically or upon the happening of a contingency For the purposes of this
Agreement, the amount of the obligations under any Swap shall be the amount determined by
Swap Counterparty in respect thereof, based on the assumption that such Swap had terminated
on the date of such calculation, and in making such determination, if any agreement relating to
such Swap provides for the netting of amounts payable by and to such Person thereunder or if
any such agreement provides for the simultaneous payment of amounts by and to such Person,
then in each such case, the amount of such obligation shall be the net amount so determined

"Tangible Net Worth" means, as of any date, equity or net worth of the Borrower, as
determined on a GAAP basis, consistently applied, minus intangible assets of the Borrower, as
determined on a GAAP basis, consistently applied, including (i) deferred charges, (ii) the amount
of any write-up in the book value of any assets reflected on any balance sheet resulting from
revaluation thereof or any write-up in excess of the cost of such assets acquired, and (iii) the
aggregate of all amounts reflected on the assets side of any such balance sheet for franchises,
licenses, permits, patents, patent applications, copyrights, trademarks, trade names, goodwill,
experimental or organizational expenses and other like intangibles.

"Taxes" shall mean all taxes, assessments, fees, or other charges or levies from time to
time or any time imposed by any 'l`ribunal.

"Tn`bunal" shall mean any municipal, state, commonwealth, Federal, foreign, territorial
or other sovereign, governmental entity, governmental department, court, commission, board,
bureau, agency or instrumentality

"TSCA" shall mean the Toxic Substances Control Act, as amended, together with all
regulations and rulings promulgated with respect thereto.

l.l Accounting Terms and Determinations. Unless otherwise specified herein, all
accounting terms used herein shall be interpreted, all determinations with respect to accounting
matters hereunder shall be made, and all financial statements and certificates and reports as to
financial matters required to be furnished to the Agent hereunder shall be prepared, in
accordance with GAAP, applied on a basis consistent with the financial statements of the
Borrower previously furnished to the Agent.

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ARTICLE II
L ANS

2.1 Revolving Credit Loans. The Lenders severally agree, upon the terms and subject
to the conditions hereinafter set forth and Schedule l annexed hereto, for so long and to the
extent no Default or Event of Default has occurred and remains uncured, to make revolving
credit loans ("Revolving Credit Loans") to the Borrower, in accordance with each Lender’s
Percentage lnterest on or after the Closing Date until the final maturity date (December 15, 2016,
unless extended in writing), in such amounts as may from time to time be requested by Borrower
for the purposes of refinancing the credit facilities of the Borrower with the Existing Lenders
(approximately $45,000,000.00), funding its acquisitions, work-overs, development and
enhancements, for general corporate purposes, including payroll and oil and gas capital
expenditures and the issuance of standby letters of credit, so long as the sum of the aggregate
principal amounts on all Revolving Credit Loans outstanding and unpaid at any time under the
Revolver Notes plus the Letter of Credit Exposure do not exceed the lesser of (i) the Collateral
Borrowing Base or (ii) the then applicable Revolver Commitment Amount (initially
$50,000,000.00).

2.2 Revolver Notes. On the Closing Date, the Borrower shall execute and deliver to
the order of the respective Lenders the Borrower's promissory notes (the "Revolver Notes") for
each Lender's percentage lnterest. The Revolver Notes shall bear interest on unpaid balances of
principal from time to time outstanding and on any past due interest at a variable annual rate
equal from day to day to the Applicable Prime Rate plus twenty five basis points (0.25%) but in
no event less than a per annum contract rate of interest equal to 3.50%. Payments of interest
only shall be payable on the Revolver Notes on the fifteenth (15“‘) day of each calendar month,
commencing January 15, 2015, through and including December lS, 2016 (the final maturity
date). After maturity (whether by acceleration or otherwise) the Revolver Notes shall bear
interest at the Default Rate, payable upon demand. Interest shall be calculated on the basis of a
year of 360 days but assessed for the actual number of days elapsed in each accrual period, The
Borrower may from time to time make prepayments of principal without premium or penalty.
All payments and prepayments shall be made in lawful money of the United States of America.

2.3 Revolving Credit Advances. Each Revolving Credit Loan requested by the
Borrower from the Lenders shall (i) be requested telephonically or pursuant to a loan advance
request to the Agent, the form of which is annexed hereto as Exhibit "A", no later than 11:00
o’clock A.M. (applicable current time in Tulsa, Oklahorna) on the date upon which the advance
is to be made or letter of credit issued, as applicable, signed by any one of Richard J. Nichols
(President), Orville B. Nichols (Secretary) or Phillip Burch (Chief Financial Ofl`icer); (ii) be in
the amount of $100,000 or an integral multiple thereof (unless the amount then available to
borrow is less than $100,000, in which event an advance may be made in the amount available);
(iii) not cause the aggregate outstanding and unpaid principal amount of the Revolver Notes plus
the Letter of Credit Exposure to exceed the less_er of (a) the Collateral Borrowing Base or (b) the
then applicable Revolver Commitment amount; and (iv) be severally advanced by the Lenders on
the applicable date, provided the request is timely made in accordance with this Section 2.3
hereof and all other conditions of funding are met. The Borrower will appoint such additional or
replacement authorized individuals in writing delivered to the Agent as Borrower’s duly

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authorized agent and attorney in fact for all purposes hereunder in connection with Revolving
Credit Loans, including (without limitation) the execution and delivery to the Agent for and on
behalf of the Borrower of all Loan Advance Requests. ln consideration of the Agent and the
Lenders permitting telephonic requests for advances, the Borrower states that it fully understands
the risk attendant thereto, agrees to accept all such risk and hold the Agent and/or the Lenders
harmless from any loss which the Borrower may incur by reason of an advance being made in
response to a telephonic request whether such is caused by mistake or negligence of the Agent
and/or the Lenders or otherwise, unless it is judicially established that such loss was due to the
gross negligence and wanton disregard of the Agent and/or the Lenders. All advances made by
the Lenders shall, for mutual convenience, be deposited to the Borrower’s general deposit
account No. 201093107 with the Agent (the "General Account"), and the Agent and/or the
Lenders shall have no responsibility to monitor the distribution of such advances in any other
respect

2.4 Advances/Payments/Volunt_a_ry P;_ep_ajgnents. All advances.made by the Lenders
on the Revolver Notes and all payments or prepayments of principal and interest thereon made
by the Borrower shall be recorded by the Agent in its records, and the aggregate unpaid principal
amount so recorded shall be conclusive evidence of the principal amount owing and unpaid on
the Revolver Notes, absent manifest error. The failure to so record shall not, however, limit or
otherwise affect the obligations of the Borrower hereunder or under the Revolver Notes to repay
the principal amount of each Revolving Credit Loan together with all interest accrued thereon. If
additional lines or blanks shall be needed for the purpose of recording advances or payments on
the schedule, one or more additional schedules may be annexed to the Revolver Notes and shall
become a part thereof. Any payments or prepayments on the Revolver Notes received by the
Agent after 2:00 o’clock P.M. (applicable current time in Tulsa, Oklahoma) shall be deemed to
have been made on the next succeeding Business Day.

All payments and prepayments shall be made in lawful money of the United States of
America in immediately available funds. Any payments or prepayments on the Revolver Notes
received by the Agent after 2:00 o’clock p.m. (applicable current time in Tulsa, Oklahoma) shall
be deemed to have been made on the next succeeding Business Day. Any voluntary prepayment
shall be applied first to accrued but unpaid interest then to the next succeeding installment(s) of
principal All outstanding principal of and accrued interest on the Revolver Notes not previously
paid hereunder shall be due and payable at final maturity on December 15, 2016, unless such
maturity shall be extended by the Agent and the Lenders in writing or accelerated pursuant to the
terms hereof,

2.5 Letters of Credit. Upon the Borrower’s application from time to time by use of
the Agent’s standard form Letter of Credit Application Agreement and subject to the terms and
provisions therein and herein set forth, the Agent, as the letter of credit issuer, on behalf of the
Lenders, agrees to issue standby letters of credit (the "Letters of Credit") on behalf of the
Borrower under the Revolving Credit Commitment for specified amounts, provided that (i) no
letters of credit will be issued on behalf of or on the account of Borrower with an expiry date
later than December 15 , 2016, unless such letters of credit (x) are fully secured and collateralized
by cash or cash equivalents acceptable to the Agent and held thereby from and after the
applicable maturity date (December 15, 2016, or altematively, renewed in writing by the Agent)
until expiration, termination or cancellation of such applicable letters of credit, or (y) continue to

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be secured by the Security lnstruments after such applicable maturity date and concerning which
Security lnstruments the Agent shall have no obligation to release or terminate until all such
letters of credit expiring on or after the applicable maturity date have expired or otherwise
canceled or terminated, and (ii) no letter of credit will be issued on behalf of or for the account of
the Borrower if at the time of issuance the (a) the Letter of Credit Exposure exceeds or will
exceed, sum of (a) the outstanding amount of all advances under the Revolving Credit
Commitment plus (b) the unfunded amount of issued but unexpired Letters of Credit plus (c) the
face amounth the requested Letter of Credit would exceed the lesser of (y) the then applicable
Revolver Commitment Amount or (z) the Collateral Borrowing Base; provided however, in no
event shall the aggregate Letter of Credit Exposure exceed twenty percent (20%) of the lesser of
the Collateral Borrowing Base or the Revolver Commitment Amount then in effect. If any letter
of credit is drawn upon at any time, each amount drawn, whether a full or partial draw thereon,
shall be reflected by the Lenders as an advance on the Revolver Notes effective as of the date of
the Agent’s honoring the sight draft. If any letter of credit or letters of credit remain outstanding
on November 30, 2016, the Agent, at its option, may make a line advance under the Revolving
Credit Commitment in an amount equal to 103% of the aggregate face amount of such letter(s) of
credit to purchase a certificate of deposit to be held by the Agent as cash security for the
Indebtedness. In consideration of the Agent’s agreement to issue standby letters of credit
hereunder, the Borrower agrees to pay to the Agent for the allocable interest of the Lenders letter
of credit issuance fees equal to two percent (2.00%) per annum on the face amount of each letter
of credit but in no event less than $1,000.00, together with payment to the Agent of the Agent’s
standard letter of credit processing and amendment/renewal fees, which such fee shall be due and
payable at the time of issuance of each applicable letter of credit,

2.6 Proceeds of Sale of Mortgaged Pro@rty. In the event any undivided interest in
any of the Mortgaged Property is sold and causes a Collateral Borrowing Base Defrciency (as
described in Section 4.2 hereof), the sales proceeds of any such sale shall be applied initially to
the outstanding principal balance of the Revolver Notes, then to accrued interest under the
Revolver Notes; provided, however, no such sale shall occur except as permitted in Section 6.16
or without the prior written consent of the Agent, not to be unreasonably withheld

 

2.7 Loan Origination Fees. Borrower shall pay to the Agent for the allocable benefit
of the Lenders in accordance with their respective Percentage lnterests a non-refundable and
fully earned loan facility origination fee equal to fifty basis points (0.50%) on the Revolver
Commitment Amount (initially $50,000,000.00), subject only to the provisions of Section 2.10
below. With each increase in the Revolver Commitment Amount an additional nonrefundable
and fully earned loan amendment/origination fee equal to fifty basis points (0.50%) of such
increase shall be concurrently paid to the Agent for the allocable benefit of the Lenders in
accordance with their respective Percentage lnterests in accordance with Section 2.10 below.

2.8 Non-Usage Fee. From the Closing Date to the date the Revolving Credit
Commitment expires or is otherwise tenninated, the Borrowers shall pay to the Bank quarterly in
arrears in immediately available funds (U.S. Dollars) a fully earned and non-refundable Non-
Usage Fee. Such Revolver Commitment non-usage fee shall be payable quarterly, commencing
with the calendar quarter ending December 31, 2014 (calculated from the Closing Date), and
payable within ten (10) days following Borrowers’ receipt of a written invoice therefor
reasonably detailing the Bank's calculation thereof.

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2.9 Agency/Arrangement Fees. Borrower shall pay to the Agent for the sole benefit
of the Agent such annual agency fees, initial syndication fees and initial arrangement fees as
provided in a separate agency fee letter of even date herewith between the Agent and the
Borrower.

2.10 Payment of Fees. All fees payable under Sections 2.5, 2.7l 2.8 and 2.9 above
shall be paid on the scheduled due dates, in immediately available funds, US Dollars, to the
Agent and shall be fully earned and non refundable under any circumstances

2.11 M. As of the first (lst) day of each calendar month, commencing on January
l, 2015, the amount available under the Revolving Credit Commitment shall be automatically
reduced by such designated monthly commitment reduction amount per month (the "MCR"). To
the extent the outstanding principal balance of the Revolver Notes is in excess of the adjusted
amount of the Revolver Commitment Amount, the Borrower shall make a mandatory principal
prepayment on the Revolver Notes in accordance with each Lender's Percentage lnterest in such
amount as is necessary to reduce the outstanding principal balance of the Revolver Notes to an
amount less than or equal to the adjusted Revolving Credit Commitment, which such mandatory
principal prepayment shall be made within five (5) days of the applicable MCR application The
amount of the MCR shall be evaluated and redetermined by the Agent concurrent with each
semi-annual Collateral Borrowing Base redetermination in accordance with the provisions of
Section 5.2. Initially, the MCR shall be $450,000.00 (based on the initial Revolver Commitment
Amount of $50,000,000.00).

2.12 Termination of Hedge Agreement lf and to the extent any Hedge Agreement or
similar price protection or derivative product (interest rate or commodity risk management
device, protection agreement or otherwise) pursuant to Hedge Transactions of the Borrower are
used in calculation of the Collateral Borrowing Base (including any credit or cash flow value),
such Hedge Agreement issued cannot be cancelled, liquidated or "unwound" by Borrower
without the prior written consent of the Agent.

2.13 Late Fees. To the extent any payment due under any Revolver Note is not paid
within ten (10) calendar days of the due date thereof, in addition to any interest or other fees and
charges due hereunder or thereunder, the Borrower shall pay a late fee equal to five percent (5%)
of the amount of the payment that was required to have been made, in addition to the payment of
interest, up to the maximum amount of One Thousand Five Hundred Dollars ($1,500.00), which
amount is stipulated by Borrower to be reasonable in order to compensate the Lenders for their
additional costs incurred as a result of having to attend to such delinquency This late fee should
be charged only once, but promptly, as to each such delinquent or late payment.

2. 14 Authorization for Direct Payments §ACH Debits). To effectuate any payment due
under the Revolver Notes or under any other Loan Document, each Borrower hereby authorizes

the Agent to initiate debit entries to its operating account at the Agent and to debit the same to
such operating account. This authorization to initiate debit entries shall remain in full force and
effect until the Agent has received written notification of its termination in such time and in such
manner as to afford the Agent a reasonable opportunity to act on it. Each Borrower represents
that one or more of the Borrower are and will be the owner of all funds in such account. Each
Borrower acknowledges: (l) that such debit entries may cause an overdraft of such account

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which may result in the Bank’s refusal to honor items drawn on such account until adequate
deposits are made to such account; (2) that the Bank is under no duty or obligation to initiate any
debit entry for any purpose; and (3) that if a debit is not made because the above-referenced
account does not have a sufficient available balance, or otherwise, the payment may be late or
past due.

ARTICLE III

SECURITY

3.1 Collateral. The repayment of the lndebtedness shall be secured by the following
(the items and types of collateral described herein and/or in the Security Instruments being
collectively referred to as the "Collateral"): a first mortgage lien in and to the Borrower’s and
the Mortgagor Affiliates' Mortgaged Property as more particularly described in the mortgage and
deed of trust instruments dated as of even date herewith, and all mortgages and deed of trust
instruments encumbering all of the oil and gas leasehold working interests (each a "Mortgage",
and collectively, the "Mortgages"), which such Mortgages cover and encumber producing oil,
gas and other leasehold and mineral interests, including without lirnitation, those situated in the
States of New Mexico, 0klahoma, Texas and Louisiana. The Borrower shall execute such
financing statements, letters in lieu of production forms, assignments, notices and other
documents and instruments as shall be necessary or appropriate to perfect the security interests
thus created. The Borrower hereby acknowledges that all of the Collateral is granted to the
Agent as security for the repayment of all of the Indebtedness. If the Revolver Notes is paid in
full or satisfied, but any portion of the lndebtedness remains unsatisfied or the Revolving Credit
Commitment remains in effect, the Agent has the right to retain its security interest in the
Collateral until the remaining Indebtedness, including without limitation any amounts owing to
Swap Counterparty under a Swap, is paid in full and the Revolving Credit Commitment is
extinguished or has otherwise expired.

3.2 Guaranties. To secure the prompt and full payment when due of the
Indebtedness, the Borrower shall cause each of the Guarantors to execute and deliver to the
Agent for the benefit of the Lenders at Closing his or its Guaranty under which the Guarantors
shall jointly and severally, absolutely and unconditionally guaranty the prompt repayment of the
indebtedness

3.3 _l§_e_ep_w_e_l_l_. Each Qualified ECP Guarantor hereby jointly and severally absolutely,
unconditionally and irrevocably undertakes to provide such funds or other support as may be
needed from time to time thereby to honor all of its obligations under Guaranty instrument in
respect of a Swap Agreement and its Swap Obligation (provided, however, that each Qualified
ECP Guarantor shall only be liable under this Section 3.3 for the maximum amount of such
liability that can be hereby incurred without rendering its obligations under this Section 3.3 or
otherwise under this Guaranty voidable under applicable law relating to fraudulent conveyance
or fraudulent transfer, and not for any greater amount). Except as otherwise provided herein, the
obligations of each Qualiiied ECP Guarantor under this Section 3.3 shall remain in full force and
effect until the termination of all Swap Obligations under such Swap Agreement. Each Qualitied
ECP Guarantor intends that this Section 2.17 constitute, and this Section 3.3 shall be deemed to
constitute, a "keepwell, support, or other agreement" for the benefit of each other Borrower or
Guarantor for all purposes of Section 1ag18)gAjjv)gII[ of the Commodity Exchange Act.

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ARTICLE IV
COLLATERAL BORROWING BASE

4.1 Semi-annual Engineering Reports gOil and Gas Properties).

(a) The Borrower shall deliver to the Agent at the Borrower’s expense by
each April 1 and October 1, commencing April l_, 2015, such current data, reports and
engineering information as is necessary or appropriate to determine the present value of
Borrower’s and any Mortgagor Affiliates’ proven developed producing reserves of oil
and gas and the value thereof consistent with general industry practices and the Agent's
then existing policies and procedures, from (i) Pinnacle Energy Services or other
reputable independent petroleum engineers acceptable to the Agent to compile for each
April l information delivery date, and (ii) Borrower for each October l information
delivery date, in form and substance satisfactory to the Agent, evaluating the proven
developed producing oil and gas reserves attributable to the Borrower’s and any
Mortgagor Affiliates' aggregate interest in the Mortgaged Property (as defined in
subsection 1b1 below), together with the expenses attributable thereto. The engineering
data and information furnished to the Agent by or on behalf of the Borrower shall be
accompanied by such other information as shall be requested by the Agent in order for
the Lenders to make its determination of the Collateral Borrowing Base, and by a
certificate of the Borrower certifying that the Borrower has good and defensible title to
the Mortgaged Properties valued and that payments are being received from purchasers of
production with respect to said interests,

At any time after thirty (30) days of the receipt of such information and in no
event later than each May l and November 1 (comrnencing May 1, 2015) the Lenders
shall (i) make a good faith determination of the present worth, using such pricing and
discount factor as the Lenders deem reasonably appropriate pursuant to the Lenders’ then
applicable energy lending and engineering policies, procedures and pricing parameters, of
the future net revenue estimated by the Agent to be received by the Borrower from not
less than eighty percent (80%) of the oil and gas wells/properties so evaluated and
attributable to Borrower or its Mortgagor Affiliates, multiplied by a percentage then
determined by the Lenders to be appropriate on the basis of the Lenders’ then applicable
energy lending criteria, and (ii) report in writing to the Borrower such sum of the
evaluation by the Agent of such evaluated oil and gas properties (the "Collateral
Borrowing Base").

In addition to the scheduled semi*annual Collateral Borrowing Base
redeterminations, (i) the Agent shall have the right to require additional Collateral
Borrowing Base redeterminations at any time, including at the time of acquisitions or
permitted sales of oil and gas leasehold producing properties included in the most recent
Collateral Borrowing Base redetermination and (ii) the Borrower shall have the right to
request, at Borrower’s sole expense, one unscheduled Collateral Borrowing Base
redetermination between each scheduled semi-annual Collateral Borrowing Base
redetermination The initial Collateral Borrowing Base is stipulated by the Agent, the

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Lenders and the Borrower to be $50,000,000.00 as of the Closing Date. The good faith
determinations of the Agent and the Lenders in such respects shall be conclusive

(b) The term "Mortgaged Property" shall refer only to such properties covered
by the Mortgage (or a supplemental mortgage or deed of trust, duly executed,
acknowledged and delivered by the Borrower to the Agent in form reasonably
satisfactory to counsel for the Agent) and which properties are, at the time:

(i) Particularly and adequately described under the Mortgage or other
supplemental mortgage or deed of trust;

(ii) Completed or developed (in the case of oil and gas leases) to the
extent that value is being assigned to them by the Agent in connection with such
evaluation and the Agent has determined that such properties are capable of
producing oil or gas in commercial quantities; and

(iii) Approved as to title to the reasonable satisfaction of the
Agent.

(c) T he Borrower agrees that the Agent, for the benefit of the Lenders, shall
be entitled at all times to have the "Mortgaged Property" covered and encumbered by the
Mortgage or supplemental mortgages or deeds of trust constitute at least eighty percent
(80%) of the aggregate value of the Borrower’s and its Affiliates’ oil and gas leasehold
working interests considered for evaluation in the Collateral Borrowing Base
determinations pursuant to Section 4.1gal hereof, including (without limitation)
encumbering, at the Agent’s option, all acquired oil and gas, mining, mineral and/or
leasehold properties and newly or additionally completed wells, all as a part of the
Mortgaged Property determined in accordance with subsections 4.1§a[ and gl_)[gi[, §ii}
and §iii[, respectively, above.

(d) At the Agent’s request, the Borrower shall furnish to the Agent as soon
as practicable after the end of each calendar semi-annual period, and in any event within
thirty (30) days after the calendar semi-annual period end, a production report and an
expense report for such semi~annual period, certified by the Borrower’s chief financial
officer as being true, correct and complete, showing on a lease by lease basis (i) the gross
proceeds from the sale of Hydrocarbons produced from the Mortgaged Property
(including additional properties mortgaged subsequent to the Closing pursuant to §ection
f_lg_Z“ above) owned by the Borrower, (ii) the severance, production ad valorem taxes and
gathering taxes deducted from or paid from the Mortgaged Property proceeds, (iii) the
Adjusted Gross Proceeds, (iv) the quantity of Hydrocarbons produced and sold from the
Mortgaged Property and the number and identity of wells operated, drilled or abandoned,
and (v) for each of the wells such operating and other expense and net income
information pertaining to the Mortgaged Property owned by the Borrower as the Agent
may request including, without limitation, a listing of material royalty liabilities and
obiigations on a lease by lease basis,

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4.2 Collateral Borrowing Base Deficiency. Should the sum of the unpaid outstanding
principal balance of the Revolver Notes at any time prior to maturity of the Revolver Notes plus
the Letter of Credit Exposure plus the estimated Early Termination Amount of the Swaps be
greater than the Collateral Borrowing Base in effect at such time, Agent may notify the Borrower
in writing of the deficiency. Within fifteen (15) days from and after the date of any such
deficiency notice Borrower shall notify Agent in writing of its election to:

(a) Make a prepayment upon the Revolver Notes in an amount sufficient to
reduce the aggregate unpaid principal amount outstanding on the Revolver Notes plus the
Letter of Credit Exposure to an amount equal to or less than the amount of the Collateral
Borrowing Base;

(b) Make mandatory equal monthly principal payments on the Revolver
Notes, due on the next five (5) successive monthly payment due dates on the Revolver
Notes in an aggregate amount that will reduce the aggregate outstanding principal
balance of the Revolver Notes plus the Letter of Credit Exposure to the projected
Collateral Borrowing Base as of the next immediate semi-annual redetermination thereof
in accordance with the provisions of Sections 4.1 hereof; or

(c) Execute and deliver to Agent one or more supplemental mortgages, deeds
of trust, security agreements or pledges encumbering other properties or assets in form
and substance satisfactory to Agent and its counsel as additional security for the Revolver
Notes (and all other Indebtedness) to the extent such properties are reasonably acceptable
to Agent and of such value, as determined by Agent, that the aggregate principal balance
of the Revolver Notes plus the Letter of Credit Exposure will not exceed the Collateral
Borrowing Base in conformance with Agent’s then applicable energy lending and
engineering/evaluation policies and procedures

If Borrower shall have elected to make a prepayment on the Revolver Notes under Section 4.2§al
or 4.2§b[ hereof, such prepayment, or the first installment of such prepayment, shall be due
within fifteen (15) days after Borrower shall have notified Agent of such election, and the
prepayment shall be applied as a mandatory principal prepayment of the Revolver Notes. if
Borrower shall have elected to make installment payments to eliminate the deficiency under
Section 4.2§|3! hereof, then, until such deficiency is extinguished, any principal amounts
outstanding on the Revolver Notes shall bear interest at the then applicable contract rate of
interest plus two hundred additional basis points (2.0%). If Borrower shall elect to execute and
deliver one or more supplemental oil and gas mortgages and deeds of trust to Agent under
Section 4.2§c! hereof, Borrower shall provide Agent with descriptions of the additional
properties to be mortgaged (together with any title due diligence data and information, current
valuations and engineering reports applicable thereto which may be requested by Agent) at the
time of Borrower's notice of such election and shall execute, acknowledge and deliver to Agent
the appropriate supplemental mortgages and deeds of trust in recordable form within ten (lO)
days after such collateral documents shall be tendered to Borrower by Agent for execution, all in
compliance with the provisions of clauses (i), (ii) and (iii) of subsection 4.1§b[ above.

4.3 Asset Disposition Adjustment. In addition to the redeterminations of the
Collateral Borrowing Base pursuant to Section 4.1, the Collateral Borrowing Base shall reduce

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simultaneously with the completion by Borrower of any asset disposition by the Collateral
Borrowing Base value of the Mortgaged Property which are the subject of such asset disposition
(which shall be the Collateral Borrowing Base value assigned thereto by the Agent and the
Lenders).

ARTICLE V
CONDITIONS PRECEDENT TO LOANS

5.1 Conditions Precedent to Revolving Credit Cornmitment. The obligation of the
Agent and the Lenders to establish the Revolving Credit Commitment and to make the initial
Revolving Credit Loan under the new consolidated Revolving Credit Commitment, is subject to
the satisfaction of all of the following conditions on or prior to the Closing Date (in addition to
the other terms and conditions set forth herein):

(a) No Default. There shall exist no Event of Default or Default on the
Closing Date,

(b) Rep_resentations and Warranties. The representations, warranties and
covenants set forth in Articles VI and VII shall be true and correct on and as of the
Closing Date, with the same effect as though made on and as of the Closing Date.

(c) Certificates. Each Borrower shall have delivered to the Agent a
Certificate, dated as of the Closing Date, and signed by the President and the Secretary of
the Borrower and the Mortgagor Affiliates certifying (i) to the matters covered by the
conditions specified in subsections gal and gbj of this Section 5.1, (ii) that the Borrower
has performed and complied with all agreements and conditions required to be performed
or complied with by them prior to or on the Closing Date, (iii) to the name and signature
of the President and each other officer of each Borrower and each Mortgagor Affiliates
authorized to execute and deliver the Loan Documents and any other documents,
certificates or writings and to borrow under this Agreement, and (iv) to such other
matters in connection with this Agreement which the Agent shall determine to be
advisable The Agent and the Lenders may conclusively rely on such Certificate until it
receives notice in writing to the contrary.

(d) Proceedings._ On or before the Closing Date, all corporate proceedings of
each Borrower and the Mortgagor Affiliates shall be taken in connection with the
transactions contemplated by the Loan Documents and shall be satisfactory in form and
substance to the Agent and its counsel; and the Agent shall have received certified copies,
in form and substance satisfactory to the Agent and its counsel, of the Certificate of
Incorporation and Bylaws or Limited Partnership Agreements, as applicable, of the
Borrower and Mortgagor Affiliates and the resolutions of the directors or general partner
of the Borrower and Mortgagor Affiliates, as applicable, as adopted, authorizing the
execution and delivery of the Loan Documents, the borrowings under this Agreement,
and the granting of the security interests in the Collateral pursuant to the Security
Instruments, to secure the payment of the lndebtedness

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(e) Securigg lnstruments. The Borrower shall have delivered and caused each
Mortgagor Affiliate to deliver to the Agent the Security Instruments, appropriately
executed by all parties, attested, sealed, witnessed and acknowledged to the satisfaction
of the Agent and dated as of the Closing Date, together with such financing statements,
and other documents as shall be necessary and appropriate to perfect the Agent’s security
interests in the Collateral covered by said Security Instruments,

(f) Revolver Notes. The Borrower shall have delivered each of the Revolver
Notes to the order of the respective Lenders, appropriately executed.

(g) Mortgages. The Borrower shall have executed and delivered the
Mortgages to the Agent in multiple recordable form counterparts as reasonably required
by the Agent.

(h) Guaranties. Borrower shall have caused to be delivered to the Agent the
Guaranties of each of the Guarantors in form, content and scope acceptable to the Agent
and the Agent’s legal counsel.

(i) ISDA Agreement. The Borrower shall have executed and delivered the
ISDA Agreement to the Swap Counterparty in counterparts as reasonably required by the
Swap Counterparty,

(i) Intercreditor Agreement The Borrower shall have delivered the
Intercreditor Agreement to the Agent in counterparts as reasonably required by the Agent
and the Swap Cou.nterparty.

(k) '_I`_i_tl§. The Borrower shall have provided the Agent with evidence
satisfactory to the Agent and its legal counsel that the Borrower and/or Mortgagor
Affiliates have valid, defensible title to the Collateral, including (without limitation) title
reports, title opinions (division order or otherwise regarding the Mortgaged Property) and
such evidence as shall be reasonably required by the Agent pertaining to all of the
Mortgaged Property of the Borrower and/or such Mortgagor Affiliates, on behalf and for
the Borrower and/or such Mortgagor Affiliates with all equitable interests therein fully
vested in the Borrower and/or such Mortgagor Affiliates, as designated in each Mortgage
instrument, for all purposes

(l) Life lnsurance Collateral Assiggments. Each of the individual Guarantors
and the Borrower shall cause to be delivered to the Agent life insurance collateral
assignments by The Nichols Companies, Inc., f/k/a NOCO Investrnent Company, Inc., an
affiliate of Borrower, on policies issued by reputable life insurance companies licensed in
the State of Oklahoma on the lives of such individual Guarantors, each in the amount of
$l,OO0,000.00, such collateral assignments in form, scope and substance acceptable to the
Agent.

(m) Fees. Borrower shall have paid to the Agent the loan origination fees and
any applicable agency fees due and payable under Sections 2.7 and 2.9, respectively,
and, to the extent available and invoiced, the legal fees and expenses of the Agent’s legal
counsel.

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(n) Other Information. The Agent shall have received such solvency
certificate and such other information, documents and assurances as shall be reasonably
requested by the Agent, including such other information with respect to the Mortgaged
Property of the Borrower as shall be reasonably requested by the Agent.

(o) Closing OQinions. Favorable closing opinions of corporate counsel and
inside counsel to Borrower shall have been delivered to the Agent as to such matters as
the Agent may reasonably request

5.2 Conditions Precedent to All Revolving Credit Loans. The Lenders shall not be
obligated to make any Revolving Credit Loan as contemplated by Section 2.3 hereof (i) if at
such time any Event of Default shall have occurred or any Default shall have occurred and be
continuing; (ii) if any of the representations, warranties and covenants contained in Articles VI
and VII of this Agreement shall be false or untrue in any material respect on the date of such
loan, as if made on such date, or (iii) Borrower and their entity Affiliates and Subsidiaries are not
solvent on a consolidated basis. Each request by the Borrower for an additional Revolving
Credit Loan shall constitute a representation by the Borrower that there is not at the time of such
request an Event of Default or a Default, and that all representations, warranties and covenants in
Articles VI and VII of this Agreement are true and correct on and as of the date of each such
request

ARTICLE vr
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Each Borrower covenants and agrees with the Agent and the Lenders that from the date
hereof and so long as this Agreement is in effect (by extension, amendment or otherwise) and
until payment in full of all lndebtedness and the performance of all other obligations of the
Borrower under this Agreement, unless the Agent shall otherwise consent in writing, which
consent will not be unreasonably withheld:

6.1 Payr_nent of Taxes and Claims. The Borrower will pay and discharge or cause to
be paid and discharged all Taxes imposed upon the income or profits of the Borrower or upon
the property, real, personal or mixed, or upon any part thereof, belonging to the Borrower before
the same shall be in default, and all lawful claims for labor, rentals, materials and supplies which,
if unpaid, might become a Lien upon its property or any part thereof; provided however, that the
Borrower shall not be required to pay and discharge or cause to be paid or discharged any such
Tax, assessment or claim so long as the validity thereof shall be contested in good faith by
appropriate proceedings, and adequate book reserves shall be established with respect thereto,
and the Borrower shall pay such Tax, charge or claim before any property subject thereto shall
become subject to execution

 

6.2 Maintenance of Legal Existence. The Borrower will do or cause to be done, and
will cause each Mortgagor Affiliate, all things necessary to preserve and keep in full force and
effect its corporate existence, rights and franchises and will continue to conduct and operate its
business substantially as being conducted and operated presently. The Borrower and each
Mortgagor Affiliate will become and remain qualified to conduct business in each jurisdiction

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where the nature of the business or ownership of property by the Borrower may require such
qualification

6.3 Preservation of Property. The Borrower will at all times maintain, preserve and
protect all franchises and trade names and keep all the remainder of its properties which are used
or useful in the conduct of its businesses whether owned in fee or otherwise, or leased, in good
repair and operating condition; from time to time make, or cause to be made, all needful and
proper repairs, renewals, replacements, betterments and improvements thereto so that the
business carried on in connection therewith may be properly conducted at all times; and comply
with all material leases to which it is a party or under which it occupies property so as to prevent
any material loss or forfeiture thereunder.

6.4 Insurance. The Borrower will keep or cause to be kept adequately insured by
financially sound and reputable insurers its motor vehicles, and all other property of a character
usually insured by businesses engaged in the same or similar businesses Upon demand by the
Agent any insurance policies covering the Collateral shall be endorsed to provide for payment of
losses to the Agent as its interest may appear, and to provide that such policies may not be
canceled, reduced or affected in any manner for any reason without thirty days prior notice to the
Agent. Such insurance shall be against fire, casualty and any other hazards normally insured
against in amounts customary in the industry for similarly situated businesses and properties
The Borrower shall at all times maintain adequate insurance against damage to persons or
property, which insurance shall be by financially sound and reputable insurers and shall, without
limitation, provide the following coverages: comprehensive general liability (including, without
limitation, coverage, where applicable, damage caused by explosion, broad form property
damage coverage, broad form coverage for contractually independent contractors), worker’s
compensation and automobile liability.

6.5 Compliance with Ap_plicable Laws. The Borrower will comply with the
requirements of all applicable Laws and orders of any Tribunal and obtain any licenses, permits,
franchises or other governmental authorizations necessary to the ownership of its properties or to
the conduct of its business.

6.6 Financial Statements and Reports.

(a) anrterly Financial Statements. As soon as practicable after the end of
every fiscal quarter of the Borrower other than and except only for the fourth (4"') and
final fiscal quarter of each fiscal year, and in any event within forty-five (45) days
thereafter, the Borrower shall furnish to the Agent the following internally prepared
consolidated financial statements:

(i) A consolidated balance sheet of the Borrower at the end of such
period, and

(ii) A consolidated statement of income of the Borrower for such
period with year-to-date earnings, setting forth in each case in comparative form the
figures for the previous fiscal year, if applicable, all in reasonable detail. The report of
the preparer of the reports (the President or Chief Financial Officer of Borrower) shall be

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accompanied by a compliance certificate in the form of Exhibit B annexed hereto from
such preparer of the foregoing quarterly reports certifying that he/she has obtained no
knowledge of any Event of Default or Default as defined herein, or, if any Event of
Default or Default existed or exists, specifying the nature and period of existence thereof
and that the Borrower is in compliance with all covenants, warranties, and representations
set forth herein, including the financial covenants of Sections 6.28 and 6.29 respectively,
and calculations thereof in reasonable detail acceptable to the Agent.

(b) Annual Financial Reports/Tax Returns of Borrower and Certain
Guarantors. As soon as available and in any event within thirty (30) days after the final

filing deadline for same, the Borrower shall provide and shall cause (i) each individual
Guarantor and NB to provide the Agent with full and complete copies of Borrower’s and
each such Guarantor’s respective federal and state tax returns and (ii) each individual
Guarantor and NB to provide to the Agent its or his signed annual financial statement
within thirty (30) days after the close of each calendar year, commencing with calendar
year ending December 31, 2014. Within ninety (90) days of the end of the calendar year,
the Borrower shall provide the Agent with its audited consolidated financial statements
(including the information in Section 6.6§a) (i) and (ii), respectively, above for such
entire applicable fiscal year period) from a firm of reputable independent certified public
accountants in form and scope reasonably acceptable to the Agent.

(c) Quarterly Hedge Reports. As soon as available on a quarterly basis and no
later than the tenth (10"‘) day of each succeeding calendar quarter (commencing as of
January 10, 2015, for the calendar quarter ending December 31, 2014), a report, in form
and substance satisfactory to the Agent, setting forth as of the last Business Day of such
prior fiscal month end, a summary of its hedging positions under all Risk Management
Agreements (including commodity price swap agreements, forward agreements or
contracts of sale which provide for prepayment for deferred shipment or delivery of oil,
gas or other oommodities) of the Borrower, including the type, term effective date,
termination date and notional principal amounts or volumes, the hedged price(s), interest
rate(s) or exchange rate(s), as applicable, and any new credit support agreements relating
thereto not previously disclosed to the Agent.

(d) Quarterly Production Reports. Financial Covenant Entities shall timely
submit to Agent comprehensive (i) quarterly volume reports effective as of the close of
each calendar month by the last Business Day of the next following calendar month, and
(ii) quarterly net lease operating reports, all of which shall be in detail, form, content,
substance and scope reasonably acceptable to Agent.

(e) Annual Reserve Rer)orts. By April l of each 'year, beginning April 1,
2015, Financial Covenant Entities shall deliver to Agent an engineering reserve report
concerning the Proven Reserves of Financial Covenant Entities, effective no earlier than
the previous January 31, such reserve report to be in form, content, scope and substance
acceptable to Agent, and prepared and/or reviewed by a reputable third party engineering
firm reasonably acceptable to the Agent, and shall include, without limitation, an audit of
Financial Covenant Entities' production and expenses

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6.7 Environmental Covenants. The Borrower will immediately notify the Agent of
and provide the Agent with copies of any notifications of discharges or releases or threatened
releases or discharges of a Polluting Substance on, upon, into or from the Collateral which are
given or required to be given by or on behalf of the Borrower to any federal, state or local
Tribunal if any of the foregoing may materially and adversely affect the Borrower or any part of
the Collateral, and such copies of notifications shall be delivered to the Agent at the same time as
they are delivered to the Tribunal. The Borrower further agrees promptly to undertake and
diligently pursue to completion any appropriate and legally required or authorized remedial
containment and cleanup action in the event of any release or discharge or threatened release or
discharge of a Polluting Substance on, upon, into or from the Collateral. At all times while
owning and operating the Collateral, the Borrower will maintain and retain complete and
accurate records of all releases, discharges or other disposal of Polluting Substances on, onto,
into or from the Collateral, including, without limitation, records of the quantity and type of any
Polluting Substances disposed of on or off the Collateral.

6.8 Environmental Indemnities. The Borrower hereby agrees to indemnify, defend
and hold harmless the Agent, the Lenders, each Swap Counterparty and each of their ochers,
directors, employees, agents, consultants, attomeys, contractors and each of its afliliates,
successors or assigns, or transferees from and against, and reimburse said Persons in full with
respect to, any and all loss, liability, damage, fines, penalties, costs and expenses, of every kind
and character, including reasonable attorneys’ fees and court costs, known or unknown, fixed or
contingent, occasioned by or associated with any claims, demands, causes of action, suits and/or
enforcement actions, including any administrative or judicial proceedings, and any remedial,
removal or response actions ever asserted, threatened, instituted or requested by any Persons,
including any Tribunal, arising out of or related to: (a) the breach of any representation or
warranty of the Borrower contained in Section 7.16 set forth herein; (b) the failure of the
Borrower to perform any of its covenants contained in Section 6.7 herein; (c) the ownership,
construction, occupancy, operation, use of the Collateral prior to the earlier of the date on which
(i) the lndebtedness and obligations secured hereby have been paid and performed in full and the
Security Instruments have been released, or (ii) the Collateral has been sold by the Agent
following the Agent’s ownership of the Collateral by way of foreclosure of the Liens granted
pursuant hereto,‘deed in lieu of such foreclosure or otherwise (the "Release Date"); provided,
however, this indemnity shall not apply with respect to matters caused by or arising solely from
the Agent’s or the Lenders’ activities during any period of time the Agent or the Lenders acquires
ownership of the Collateral.

 

The indemnities contained in this Section 6.8 apply, without limitation, to any violation
on or before the Release Date of any Environmental Laws and any liability or obligation relating
to the environmental conditions on, under or about the Collateral on or prior to the Release Date
(including, without limitation: (a) the presence on, upon or in the Collateral or release, discharge
or threatened release on, upon or from the Collateral of any Polluting Substances generated,
used, stored, treated, disposed of or otherwise released prior to the Release Date, and (b) any and
all damage to real or personal property or natural resources and/or harm or injury including
wrongful death, to persons alleged to have resulted from such release of any Polluting
Substances regardless of whether the act, omission, event or circumstances constituted a
violation of any Environmental Law at the time of its existence or occurrence). The term
"release" shall have the meaning specified in CERCLA/SARA and the terms "stored," "treated"

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and "disposed" shall have the meanings specified in RCRA/HSWA; provided, however, any
broader meanings of such terms provided by applicable laws of the State of Oklahoma shall
apply.

The provisions of this Section 6.8 shall be in addition to any other obligations and
liabilities Borrower may have to the Agent and the Lenders at common law and shall survive the
Release Date and shall continue thereafter in full force and effect.

The Agent and the Lenders agree that in the event that such claim, suit or enforcement
action is asserted or threatened in writing or instituted against them or any of their officers,
employers, agents or contractors or any such remedial, removal or response action is requested of
them or any of their officers, employees, agents or contractors for which the Agent and/or the
Lenders may desire indemnity or defense hereunder, the Agent shall give written notification
thereof to the Borrower.

Notwithstanding anything to the contrary stated herein, the indemnities created by this
Section 6.8 shall only apply to losses, liabilities, damages, fines, penalties, costs and expenses
actually incurred by the Agent or the Lenders as a result of claims, demands, actions, suits or
proceedings brought by Persons who are not the beneficiaries of any such indemnity. The Agent
shall act as the exclusive agent for all indemnified Persons under this Section 6.8. With respect
to any claims or demands made by such indemnified Persons, the Agent shall notify the
Borrower within thirty (30) days after the Agent’s receipt of a writing advising the Agent of such
claim or demand. Such notice shall identify (i) when such claim or demand was first made, (ii)
the identity of the Person making it, (iii) the indemnified Person and (iv) the substance of such
claim or demand. Failure by the Agent to so notify the Borrower within said thirty (30) day
period shall reduce the amount of the Borrower’s obligations and liabilities under this Section
6_.8_ by an amount equal to any damages or losses suffered by the Borrower resulting from any
prejudice caused the Borrower by such delay in notification from the Agent. Upon receipt of
such notice, the Borrower shall have the exclusive right and obligation to contest, defend,
negotiate or settle any such claim or demand through counsel of its own selection (but
reasonably satisfactory to the Agent) and solely at Borrower’s own cost, risk and expense;
provided, that the Agent, at its own cost and expense shall have the right to participate in any
such contest, defense, negotiations or settlement The settlement of any claim or demand
hereunder by the Borrower may be made only upon the prior approval of the Agent of the terms
of the settlement, which approval shall not be unreasonably withheld

6.9 Notice of Default, Immediately upon any officer becoming aware of any
condition or event which constitutes an Event of Default or Default or any default or event of
default under any other loan, mortgage, financing or security agreement, the Borrower will give
the Agent a written notice thereof specifying the nature and period of existence thereof and what
actions, if any, the Borrower is taking and proposes to take with respect thereto.

6.10 Notice of Litigation. lmmediately upon becoming aware of the existence of any
action, suit or proceeding at law or in equity before any Tribunal, an adverse outcome in which
would (i) materially impair the ability of any of the Borrower to carry on its business
substantially as now conducted, (ii) materially and adversely affect the condition (financial or
otherwise) of the Borrower, or (iii) result in monetary damages in excess of $250,000, the

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Borrower will give the Agent a written notice specifying the nature thereof and what actions, if
any, the Borrower is taking and proposes to take with respect thereto.

6.11 Notice of Claimed Default. Immediately upon becoming aware that the holder of
any note or any evidence of indebtedness or other security of the Borrower has given notice or
taken any action with respect to a claimed default or event of default thereunder, if the amount of
the note or indebtedness exceeds $250,000 the Borrower will give the Agent a written notice
specifying the notice given or action taken by such holder and the nature of the claimed default
or event of default thereunder and what actions, if any, the Borrower is taking and proposes to
take with respect thereto.

6.12 Notice of Change of Management. Within five (5) days after any change in
officers, directors or management of the Borrower or any officer of the Borrower holding the
office of President, the Borrower shall give written notice thereof to the Agent, together with a
description of the reasons for the change

6. 13 Reguested Inf`ormation. With reasonable promptness, the Borrower will give the
Agent such other data and information relating to the Borrower as from time to time may be
reasonably requested by the Agent.

6.14 lnspection. The Borrower will keep complete and accurate books and records
with respect to the Collateral and its other properties, businesses and operations and will permit
employees and representatives of the Agent to audit, inspect and examine the same and to make
copies thereof and extracts therefrom during normal business hours. All such records shall be at
all times kept and maintained at the offices of the Borrower in Tulsa, Oklahoma Upon any
Default or Event of Default, the Borrower will surrender all of such records relating to the
Collateral to the Agent upon receipt of any request therefor from the Agent.

6.15 Maintenance of Employee Benefit Plans. The Borrower will maintain each
employee benefit plan as to which it may have any liability or responsibility in compliance with
ERISA and all other Laws applicable thereto.

6.16 Disposition/Negative Pledge or Encumbrance of Collateral and Other Assets. The
Borrower will not, and will cause any Mortgagor Affiliate not to, sell or encumber any of the

Collateral, and the Borrower and any Mortgagor Affiliate will not sell, lease, transfer, scrap or
otherwise dispose of or mortgage, pledge, grant a security interest in or otherwise encumber any
of the Borrower’s other oil and gas mining or mineral properties, leasehold working or other
rights, interests or assets, whether for replacement or otherwise, except in the ordinary course of
Borrower’s business. In no event shall the Borrower cause or permit the voluntary or
involuntary pledge, mortgage or other encumbranoe, attachment or levy of or against any of its
other properties or assets of whatsoever nature or type to any Person (financial institution or
otherwise).

6.17 Limitation on Other Indebtedness. The Borrower will not create, incur, assume,
become or be liable in any manner in respect of, or suffer to exist, any indebtedness whether
evidenced by a note, bond, debenture, agreement, letter of credit or similar or other obligation, or
accept any deposits or advances of any kind, except: (i) trade payables and current indebtedness

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(other than for borrowed money) incurred in, and deposits and advances accepted in, the ordinary
course of business; (ii) indebtedness other than to the Lenders or the Agent hereunder not
exceeding $3,000,000 in the aggregate during any calendar year of the Borrower (inclusive of
assets sold in compliance with Section 6. 16 and the baskets permitted in Sections 6.18 and 6.20,
respectively); (iii) contingent liabilities arising from the operations of the Borrower in the
ordinary course of business such as plugging liabilities and similar operational matters customary
for operators in the oil and gas industry; (iv) capital expenditures of any type in the aggregate
during any calendar year not in excess of $5,000,000.00; and (v) the lndebtedness

6.18 Limitation on Liens. The Borrower will not create or suffer to exist any Lien
upon any of its assets, whether real or personal property, except (i) purchase money security
interests securing indebtedness incurred for the acquisition of assets not in excess of $3,000,000
(inclusive of the permitted baskets for transactions contemplated in Sections 6.16l 6.17 and 6.20,
respectively) in the aggregate during any calendar year; (ii) operating liens in favor of an
operator of oil and gas leasehold interests in accordance with normal and customary industry
staudards, and-(iii) Liens in favor of the Agent securing the lndebtedness

6. 19 Contingent Liabilities; Advances. Except for the items described on Exhibit "C"
attached hereto, the Borrower will not either directly or indirectly otherwise, (i) guarantee,
become surety for, discount, endorse, agree (contingently or otherwise) to purchase, repurchase
or otherwise acquire or supply or advance funds in respect of, or otherwise become or be
contingently liable upon the indebtedness, obligation or liability of any Person, (ii) guarantee the
payment of any dividends or other distributions upon the stock of any corporation, (iii) discount
or sell with recourse or for less than the face value thereof, any of its notes receivable, accounts
receivable or chattel paper; (iv) loan, agree to loan, or advance money to any Person; or (v) enter
into any agreement for the purchase or other acquisition of any goods, products, materials or
supplies, or for the making of any shipments or for the payment of services, if in any such case
payment therefor is to be made regardless of the non-delivery of such goods, products, materials
or supplies or the non-furnishing of the transportation of services; provided, however that the
foregoing shall not be applicable to (a) endorsement of negotiable instruments presented to or
deposited with a bank for collection or deposit in the ordinary course of business or (b) payment
of historical intercompany payables or receivables between or among Borrower, NB and/or other
Affiliates thereof, including the Mortgagor Affiliates.

 

6.20 Merger, Consolidation, Acguisition, Etc. Borrower will not merge or consolidate
with or into any other Person; or permit any Person to merge into the Borrower; or acquire all or
substantially all of the assets or properties or capital stock of any other Person; or adopt or effect
any plan of reorganization, recapitalization, liquidation or dissolution; or acquire any properties
or assets, other than in the ordinary course of business and not in excess of $300,000 in the
aggregate during any calendar year (inclusive of the permitted baskets for transactions
contemplated by Sections 6.17 and 6.18, respectively); provided, however, the Borrower may
enter into letters of intent pertaining to merger, consolidation or acquisition subject to obtaining
the Required Lenders’ written consent thereto prior to consummation of the transactions
contemplated by such letter(s) of intent.

 

6.21 Distributions/Dividends. The Borrower will not declare, pay or become obligated
to declare or pay any capital, cash or other distributions or dividends on any class of their

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membership units or capital stock now or hereafter outstanding, make any distribution of capital,
cash or property to holders of any shares of the Borrower or shares of such stock, or redeem,
retire, purchase or otherwise acquire, directly or indirectly, any shares of any class of their
capital stock now or hereafter outstanding, subject, however, to payment of customary and
historical inter-company payables and receivables

6.22 Change of Fiscal Year. The Borrower will not change its fiscal year from its
present fiscal year (fiscal year ending December 31).

6.23 Change of Business. The Borrower will not engage in any business activity
substantially different from or unrelated to present business activities and operations.

6.24 Certificate of Incorporation; Bylaws and Assumed Names. The Borrower will not
amend, alter, modify or restate its Certificate of Incorporation or Bylaws in any way which
would: (i) change the name or adopt a trade name for the Borrower; or (ii) in any manner
adversely affect the rights of the Borrower’s obligations or covenants to the Agent and the
Lenders hereunder.

6.25 Transactions with Affiliates. The Borrower will not enter into any transaction,
including (without limitation) the purchase, sale or exchange of property or the rendering or
furnishing of any service with any Affiliate of the Borrower, except transactions in the ordinary
course of the businesses of the Borrower and upon fair and reasonable terms no less favorable
than the Borrower would obtain in a transaction for the same purpose with a Person that is not an
Affiliate of the Borrower.

6.26 Other Agreements. The Borrower will not enter into or pemiit to exist any
agreement which: (i) would cause an Event of Default or a Default hereunder; or (ii) contains
any provision which would be violated or breached by the performance of the Borrower’s
obligations hereunder or under any of the other Loan Documents,

6.27 Payment of lndebtedness The Borrower hereby agrees to pay, when due and
owing, all lndebtedness, whether or not evidenced by the Revolver Notes.

6.28 Minimum lnterest Coverage Ratio. Borrower shall not permit its lnterest
Coverage Ratio, determined as of the end of each fiscal quarter, to be less than 4.00 to 1.0,
commencing as of the fiscal quarter ending December 31, 2014.

6.29 Maximum Funded Debt to EBlTDAX Ratio. Borrower shall not permit its
Funded Debt to EBlTDAX Ratio determined as of the end of each fiscal quarter, on an
annualized basis, to exceed 4.0 to l..O, commencing with the quarter ending December 31, 2014:

6.30 Minimum Required Hedging. Borrower and its subsidiaries shall hedge not less
than 50% of its monthly crude production for a twelve (12) month rolling forward period. In no
event shall Borrower hedge more than eighty percent (80%) of Borrower’s monthly production
for a specified period of time, all as determined by Agent in its good faith discretion, pursuant to
forward derivative contracts acceptable to the Agent. Borrower shall not enter into any financial
and physical hedge transactions affecting or covering the same volume of production for

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concurrent or overlapping periods of time, The applicable counterparty to any ISDA Agreement
shall be reasonably acceptable to Agent and approved thereby in writing.

6.31 Collateral Borrowing Base Credit for Hedge Agreements To the extent Borrower
is given any credit or cash flow value in the Collateral Borrowing Base detemiinations for Hedge
Agreements or other derivative products in effect by Agent or the Swap Counterparty from time
to time (semi-annual engineering redeterminations or otherwise), Borrower shall not liquidate,
cancel, terminate or otherwise "unwind" any hedges, rate risk management agreement or other
Hedge Agreement without the prior verbal consent of Agent (to be confirmed in writing within
one (l) Business Day thereafter), which such consent will not be unreasonably withheld or
delayed.

6.32 Hedgir_rg. Upon Borrower’s institution of the required and permitted hedging
required or permitted by Section 6.30, such devices shall include a "price floor" or comparable
financial hedge or risk management agreement with the Swap Counterparty acceptable to Agent
and the Swap Counterparty in all respects (including, without limitation, price and term), with a
maximum of 80% of Borrower's aggregate existing oil and gas monthly production (as forecast
in Agent’s most recent semiannual engineering valuation pursuant to Article V hereof) for not
more than three (3) years, and otherwise in form, content and substance acceptable to Agent and
the Swap Counterparty, Agent and the Required Lenders (excluding Swap Counterparties), at
their good faith and reasonable discretion, may require Borrower to hedge a specified percentage
of Borrower's monthly production for a specified period of time, all as determined by the Agent
in its good faith discretion, Except as approved in advance by Agent, Borrower shall not enter
into any Prohibited Hedge Transaction, including, without limitation, any financial and physical
hedge transactions affecting or covering the same volume of production for concurrent or
overlapping periods of time. The applicable counterparty to any ISDA Agreement shall be the
Swap Counterparty or otherwise reasonably acceptable to the Agent and approved thereby in
writing.

6.33 Investments. Neither Borrower nor any of the Mortgagor Affiliates will make or
permit to be made any loan or advance to any Person, or purchase or otherwise acquire, any
capital stock, assets, obligations, or other securities of, make any capital contribution to, or
otherwise invest in or acquire any interest in any Person, or participate as a partner or joint
venturer with any other Person in excess of $500,000.00 in the aggregate (together with the
acquisitions permitted by Section 6.34), except: (l) direct obligations of the United States or any
agency thereof with maturities of one year or less from the date of creation thereof; (2)
commercial paper of a domestic issuer rated at least "Al " by Standard & Poor‘s Ratings Group of
"Pl" by Moody‘s Investors Service, Inc. and maturing within 180 days of the date of creation
thereof; (3) overnight euro deposits (including euro dollar sweep accounts) and certificates of
deposit with maturities of one year or less from the date of creation thereof issued by any
Lenders or any other commercial bank organized under the laws of the United States or any state
thereof, with a short term deposit rating of no lower than A2 or P2, as such rating is set forth
from time to time by Standard & Poor‘s Corporation or Moody‘s investors Service, Inc.,
respectively, reasonably acceptable to the Lenders; and (4) stock, obligations, or securities
received in settlement of debts (created in the ordinary course of business) owing to the
Borrower or a Mortgagor Affiliate,

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6.34 Agr£ement to Grant Additional Security/Collateral

(a) Promptly, and in any event not later than ten (lO) days prior to the
acquisition of assets of the type that would have constituted Collateral at the date hereof
and investments of the type that would have constituted Collateral on the date hereof
(other than and excluding only assets with a fair market value of less than $200,000),
including the capital stock of any direct or indirect Subsidiary of Borrower or any of the
Mortgagor Affiliates, Borrower shall notify the Agent of the proposed acquisition of such
assets or investments and, to the extent not already Collateral in which the Collateral
Agent for the benefit of the Lenders and the Swap Counterparty has a perfected security
interest pursuant to the Security Instruments, such assets and investments will become
additional Collateral hereunder (the "Additional Collateral"), and the Borrower will, and
will cause or permit any of the Mortgagor Affiliates to take all necessary action,
including the filing of appropriate financing statements under the provisions of the UCC,
applicable foreign, domestic or local laws, rules or regulations in each of the offices
where such filing is necessary or appropriate to grant the Agent a perfected Lien in such
Additional Collateral (or comparable interest under foreign law in the case of foreign
Collateral) pursuant to and to the full extent required by the Security Instruments and this
Agreement,

(b) Promptly, and in any event no later within ten (10) days after the date on
which an entity becomes a direct or indirect Subsidiary of the Borrower or any Mortgagor
Affiliate (or if acceptable to the Required Lenders in the exercise of its sole discretion,
not later than thirty (30) days after a request with respect thereto), Borrower shall cause
each of the direct and indirect Subsidiaries thereof or of the Mortgagor Affiliates (the
"Subsidiary Guarantor") to become party to, or to execute and deliver, a guaranty
substantially in form and substance satisfactory to the Agent and its legal counsel (as
hereafter amended, supplemented or otherwise modified from time to time in accordance
with its terms, and whether one or more, collectively the "Subsidiary Guaranty"),
guarantying to the Lenders the prompt payment, when and as due, of all lndebtedness of
the Borrower and the Guarantors under the Loan Documents, including all lndebtedness
and obligations under any Hedge Agreements or other hedging agreements

(c) Promptly, and in any event no later than the date on which an entity
becomes a direct or indirect Subsidiary of Borrower or any of the Mortgagor Afhliates
(or if acceptable to the Required Lenders in the exercise of their sole discretion, not later
than thirty (30) days after a request with respect thereto), Borrower shall cause each
Subsidiary Guarantor created or established after the date hereof to grant to the Collateral
Agent for the benefit of the Lenders and the Swap Counterparty a first priority Lien
(subject to Permitted Liens) on all property (tangible and intangible) of such Subsidiary
Guarantor, including, without limitation, all of the outstanding capital stock of any of its
Subsidiaries and 65% (or up to 100% if not prohibited by applicable law or resulting in
materially adverse tax consequences as determined in the reasonable discretion of the
Required Lenders upon consultation with the Borrower) of the outstanding stock of any
of its foreign Subsidiaries and the Credit Parties and Subsidiary shall grant such Lien on

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the outstanding capital stock of any foreign Subsidiary owned by any of the Credit Parties
or any domestic Subsidiary (in the same percentages as set forth above) in each case,
upon terms similar to those set forth in the Security Instruments and otherwise
satisfactory in form and substance to the Agent and the Required Lenders, The Borrower
shall cause each Subsidiary Guarantor, at its own expense, to become a party to a
Security Agreement and any other Security Instruments (to the extent applicable to such
Subsidiary Guarantor and its assets) and to execute, acknowledge and deliver or cause the
execution, acknowledgment and delivery of, and thereafter register, file or record in any
appropriate governmental office, any document or instrument reasonably deemed by the
Agent and the Required Lenders to be necessary or desirable for the creation and
perfection of the foregoing Liens (including UCC, tax and judgment Lien searches, legal
opinions, title insurance, consents, corporate/partnership/limited liability company
documents and any additional or substitute security agreements or mortgages or deeds of
trust). The Borrower will cause each such party to take all reasonable actions requested
by the Agent or the Required Lenders (including, without limitation, the filing of UCC»
l’s or initial financing statements in lieu of continuation statements as may be deemed
appropriate or necessary under revised Article 9 of the Uniforrn Commercial Code now
or hereafter in effect in any of the applicable jurisdictions pertaining to the Collateral, the
Borrower or any of the Subsidiary Guarantors) in connection with the granting of such
security interests.

(d) Borrower shall promptly, and in any event not later than twenty (20) days
after a request with respect thereto, (i) deliver to the Agent the original of all instruments,
documents and chattel paper, and all other Collateral of which the Agent or the Required
Lenders determine the Agent should have physical possession in order to perfect and
protect its security interest therein, duly pledged, endorsed or assigned to the Agent
without restriction; (ii) obtain landlord waivers, in form and substance satisfactory to the
Agent and the Required Lenders, with respect to any Inventory or other Collateral located
at a location that is not owned by one of the Borrower or the Mortgagor Affiliates or a
Subsidiary; (iii) deliver to the Agent warehouse receipts covering any portion of the
Inventory or other Collateral located in warehouses and (i) for which warehouse receipts
are issued; (iv) when an Event of Default exists, transfer inventory to locations
designated by the Agent; (v) if any Collateral (except immaterial amounts if the specific
exclusion thereof from the terms of this clause shall have been consented to in writing by
the Agent) is at any time in the possession or control of any warehousemen, bailee or
Borrower's or Mortgagor Affiliates' agents or processors, notify the Agent thereof and
notify such person of the Collateral Agent’s security interest in such Collateral and obtain
a landlord waiver or bailee letter, in form and reasonably satisfactory to the Agent, from
such person and instruct such person to hold all such Collateral for the Agent’s account
subject to the Collateral Agent’s instructions; (vi) if at any time any Inventory or other
Collateral is located on any real property owned by Borrower or one of the Mortgagor
Affiliates which is subject to a Lien (other than in favor of the Agent), obtain a
mortgagee waiver, in form and substance satisfactory to the Agent, from the holder of
each Lien on such real property; and (vii) take all such other actions and obtain all such

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other agreements as the Agent may reasonably deem necessary or desirable in respect of
any Collateral.

(e) The security interests required to be granted pursuant to this Section 6.34
shall be granted pursuant to the Security Instruments or, in the Agent’s discretion, such
other or additional security documentation (which shall be substantially similar to the
Security Instruments already executed and delivered by the Borrower or any Mortgagor
Affiliate) as is satisfactory in form and substance to the Agent (collectively the
"Additional Security Instruments") and shall constitute valid and enforceable perfected
security interests prior to the rights of all third Persons and subject to no other Liens
except Permitted Liens permitted under Section 6.18. The Additional Security
Instruments and other instruments related thereto shall be duly recorded or filed in such
manner and in such places and at such times as are required by Law to establish, perfect,
preserve and protect the Liens, in favor of the Agent, granted pursuant to the Additional
Security Instruments, and all Taxes, fees and other charges payable in connection
therewith shall be paid in full by the Borrower. At the time of the execution and delivery
of Additional Security Instruments, the Borrower shall deliver or cause to be delivered to
the Agent such agreements, opinions of connsel, and other related documents (including,
without limitation, certified copies of certificates of incorporation/partnership/limited
liability company, as the case may be, by-laws/partnership agreement/operating
agreement, as the case may be, corporate, partnership or other resolutions, incumbency
certificates, good standing certificates, Lien searches, and loss-payee endorsements) as
may be reasonably requested by the Agent or the Required Lenders to assure themselves
that this Section 6.34 has been complied wi_th.

6.35 Use of Loan Proceeds. Neither Borrower nor any of the Mortgagor Affiliates
shall use any proceeds of any Revolving Credit Loan advance request or Letter of Credit
issuance request under the Revolving Credit Commitment for any purpose other than those
expressly permitted and contemplated by this Agreement, and in no event shall any loan
proceeds be used for any purpose that would create or cause a breach, violation or default or
event of default hereunder or under any of the other Loan Documents (including the Security
Instruments) or violation of Regulations G, U or X or any other regulation of the Board of
Gove.mors of the Federal Reserve System or to violate Section 7 of the Securities Exchange Act
of 1934 or any rule or regulation thereunder, in each case as now in effect or as the same may
hereinafter be in effect.

6.36 Prohibited Uses. Borrower hereby agrees that it Will not, directly or indirectly,
lend, contribute or otherwise make available any Revolving Loan advance proceeds to any
subsidiary, affiliate, joint venture partner or other person or entity: (i) to fund any activities or
business of or with any person or entity, or in any country or territory, that, at the time of such
funding, is the subject of any sanctions administered by the U.S. Department of the Treasury’s
Office of Foreign Assets Control ("OFAC"), or in any other manner that would result in a
violation of OFAC sanctions by any person or entity, including any person or entity participating
in any capacity in the Revolver Loan; or (ii) in furtherance of an offer, payment, promise to pay,
or authorization of the payment or giving of money or anything else of value, to any person in
violation of any applicable laws, rules, or regulations relating to bribery or corruption.

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REPRESENTATIONS AND wARRANTrEs

To induce the Agent and the Lenders to enter into this Agreement and to make Loans to
each Borrower under the provisions hereof, and in consideration thereof, the Borrower
represents, warrants and covenants as follows:

7.1 Organization and Oualification. The Borrower and each Mortgagor Affiliate is
duly organized, validly existing, and in good standing as a corporation under the Laws of
Oklahoma, and is duly licensed and in good standing as a foreign corporation in each jurisdiction
in which the nature of the business transacted or the property owned is such as to require
licensing or qualification as such.

7.2 Litigation. Except for the actions described on Exhibit "D" attached hereto, there
is no action, suit, investigation or proceeding threatened or pending before any Tribunal against
or affecting the Borrower or any properties or rights of the Borrower which, if adversely
determined, would result in a liability of greater than $250,000 or would otherwise result in any
material adverse change in the business or condition, financial or otherwise, of the Borrower.
The Borrower is not in default with respect to any judgment, order, writ, injunction, decree, rule
or regulation of any Tribunal.

7.3 Financial Statements. The Borrower’s most recent consolidated unaudited
financial statements which have been furnished to the Agent have been prepared in conformity
with GAAP or tax~basis accounting, show all material liabilities, direct and contingent, and fairly
present the consolidated financial condition of the Borrower as of the date of such statements and
the results of their operations for the period then ended, and since the date of such statements
there has been no material adverse change in the business, financial condition or operations of
the Borrower.

7.4 Conflicting Agreements and Other Matters. The Borrower is not in default in the
performance of any obligation, covenant, or condition in any material agreement to which it is a
party or by which it is bound. The Borrower is not a party to any contract or agreement or
subject to any other restriction which materially and adversely affects its business, property or
assets, or financial condition. The Borrower is not a party to or otherwise subject to any contract
or agreement which restricts or otherwise affects the right or ability of the Borrower to execute
the Loan Documents or the performance of any of their respective terms. Neither the execution
nor delivery of any of the Loan Documents, nor fulfillment of nor compiiance with their
respective terms and provisions will conflict with, or result in a breach of the terms, conditions or
provisions of, or constitute a default under, or result in any violation of, or result in the creation
of any Lien (except those created by the Loan Documents) upon any of the properties or assets of
the Borrower pursuant to, or require any consent, approval or other action by or any notice to or
filing with any Tribunal (other than routine filings after the Closing Date with the Securities and
Exchange Commission, any securities exchange and/or state blue sky authorities) pursuant to the
Certificate of Incorporation or Bylaws of the Borrower, any award of any arbitrator, or any
agreement, instrument or Law to which the Borrower is subject.

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7.5 Authorization. The directors of the Borrower have duly authorized the execution
and delivery of each of the Loan Documents and the performance of their respective terms. No
other consent of any other Person, except for the Agent, is required as a prerequisite to the
validity and enforceability of the Loan Documents,

7.6 Pu_rposes. The Borrower is not engaged principally, or as one of its important
activities, in the business of extending credit for the purpose of purchasing or carrying margin
stock (within the meaning of Regulation U of die Board of Govemors of the Federal Reserve
System) and no part of the proceeds of any borrowing hereunder will be used to purchase or
carry any margin stock or to extend credit to others for the purpose of purchasing or carrying any
margin stock. If requested by the Agent, the Borrower will furnish to the Agent a statement in
conformity with the requirements of Federal Reserve Form U-l, referred to in Regulation U, to
the foregoing effect. Neither the Borrower nor any agent acting on behalf thereof has taken or
will take any action which might cause this Agreement or the Revolver Notes to violate any
regulation of the Board of Governors of the Federal Reserve System (including Regulations G,
T, U and X) or to violate any securities laws, state or federal, in each case as in effect now or as
the same may hereafter be in effect.

7.7 Compliance with Applicable Laws. The Borrower is in compliance with all
Laws, ordinances, rules, regulations and other legal requirements applicable to it and the
business conducted by it, the violation of which could or would have a material adverse effect on
its business or condition, financial or otherwise. Neither the ownership of any shares of the
Borrower, nor any continued role of any Person in the management or other affairs of the
Borrower (i) will result or could result in the Borrower’s noncompliance with any Laws,
ordinances, rules, regulations and other legal requirements applicable to the Borrower, or (ii)
could or would have a material adverse effect on the business or condition, financial or
otherwise, of the Borrower.

7.8 Possession of Franchises Licenses. The Borrower possesses all franchises,
certificates, licenses, permits and other authorizations from governmental political subdivisions
or regulatory authorities, free from burdensome restrictions, that are necessary in any material
respect for the ownership, maintenance and operation of its properties and assets, and the
Borrower is not in violation of any thereof in any material respect.

 

7.9 Leases. The Borrower enjoys peaceful and undisturbed possession of all leases
necessary in any material respect for the operation of its respective properties and assets, none of
which contains any unusual or burdensome provisions which might materially affect or impair
the operation of such properties and assets. All such leases are valid and subsisting and are in
full force and effect.

 

7.10 Taxes. The Borrower has filed all Federal, state and other income tax returns
which are required to be filed and has paid all Taxes, as shown on said returns, and all Taxes due
or payable without returns and all assessments received to the extent that such Taxes or
assessments have become due. All Tax liabilities of the Borrower are adequately provided for on
the books of the Borrower, including interest and penalties. No income tax liability of a material
nature has been asserted by taxing authorities for Taxes in excess of those already paid.

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7.ll Disclosure. To the best of Borrower’s knowledge following a due diligent inquiry
and investigation, neither this Agreement nor any other Loan Document or writing furnished to
the Agent by or on behalf of the Borrower in connection herewith contains any untrue statement
of a material fact nor do such Loan Documents and writings, taken as a whole, omit to state a
material fact necessary in order to make the statements contained herein and therein not
misleading There is no fact known to the Borrower and not reflected in the financial statements
or exhibits hereto provided to the Agent which materially adversely affects or in the future may
materially adversely affect the business, property, or assets, or financial condition of the
Borrower which has not been set forth in this Agreement, in the Loan Documents or in other
documents furnished to the Agent by or on behalf of the Borrower prior to the date hereof in
connection with the transactions contemplated hereby.

7.12 lnvestment Company Act Representation. The Borrower is not an "investment
company" or a company "controlled" by an "investment company", within the meaning of the
Investment Company Act of 1940, as amended

7.13 ERISA. Since the effective date of Title IV of ERISA, no Reportable Event has
occurred with respect to any Plan. For the purposes of this section the term "Reportable Event"
shall mean an event described in Section 40433b1 of ERISA. For the purposes hereof the term
"Plan" shall mean any plan subject to 'l`itle lV of ERISA and maintained for employees of the
Borrower, or of any member of a controlled group of corporations, as the term "controlled group
of corporations" is defined in Section 1563 of the Internal Revenue Code of 1986, as amended
(the "Code"), of which the Borrower is a part Each Plan established or maintained by the
Borrower is in material compliance with the applicable provisions of ERISA, and the Borrower
has filed all reports required by ERISA and the Code to be filed with respect to each Plan. The
Borrower has met all requirements with respect to funding Plans imposed by ERISA or the Code.
Since the effective date of Title IV of ERISA there have not been any nor are there now existing
any events or conditions that would permit any Plan to be terminated under circumstances which
would cause the lien provided under Section 4068 of ERISA to attach to the assets of the
Borrower. The value of each Plan’s benefits guaranteed under Title IV of ERISA on the date
hereof does not exceed the value of such Plan’s assets allocable to such benefits on the date
hereof.

7.14 Fisca`l Year. T he fiscal year of the Borrower ends as of December 31 of each
year.

7.15 Title to Properties; Authority. The Borrower has full power, authority and legal
right to own and operate the properties which it now owns and operates, and to carry on the lines
of business in which it is now engaged, and together with the Mortgagor Affiliates has good and
marketable title to the Mortgaged Property in its or their corporate or other legal entity capacity
subject to no Lien of any kind except Liens permitted by this Agreement The Borrower together
with the Mortgagor Affiliates owns a working interest and net revenue interest in the oil and gas
leasehold estate for the Mortgaged Property of not less than the amounts set forth on a well by
well basis as represented and submitted to the Agent in writing The Borrower has full power,
authority and legal right to execute and deliver and to perform and observe the provisions of this
Agreement and the other Loan Documents. The Borrower further represents to the Agent and
the Lenders that any and all after acquired interest in any of the Mortgaged Property being

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concurrently or subsequently assigned of record to the Borrower is and shall be deemed
encumbered by the Mortgage in all respects

7.16 Environmental Representations. To the best of the Borrower’s knowledge and
belief, upon reasonable and good faith inquiry exercised with due diligence and in accordance
with normal industry standards:

(a) The Borrower is not subject to any material liability or obligation relating
to (i) the environmental conditions on, under or about the Collateral, including, without
limitation, the soil and ground water conditions at the location of any of the Borrower’s
properties, or (ii) the use, management, handling, transport, treatment, generation,
storage, disposal, release or discharge of any Polluting Substance;

(b) The Borrower has not obtained and is not required to obtain or make
application for any permits, licenses or similar authorizations to construct, occupy,
operate or use any buildings, improvements, facilities, fixtures and equipment forming a
part of the Collateral by reason of any Environmental Laws;

(c) The Borrower has taken all steps necessary to determine and has
determined that no Polluting Substances have been disposed of or otherwise released on,
onto, into, or from the Collateral (the term "release" shall have the meanings specified in
CERCLA/SARA, and the term "disposal" or "disposed" shall have the meanings
specified in RCRA/HSWA; provided, in the event either CERCLA/SARA or
RCRA/HSWA is amended so as to broaden the meaning of any term defined thereby,
such broader meaning shall apply subsequent to the effective date of such amendment
and provided further, to the extent that the laws of any State or Tribunal establish a
meaning for "release," "disposal" or "disposed" which is broader than that specified in
CERCLA/SARA, RCRA/HSWA or other Environmental Laws, such broader meaning
shall apply);

(d) There are no material amounts of PCB’s or asbestos-containing materials,
whether in the nature of thermal insulation products such as pipe boiler or breech
coverings, wraps or blankets or sprayed-on or troweled-on products in, on or upon the
Collateral; and

(e) There is no urea formaldehyde foam insulation ("UFFI") in, on or upon
the Collateral.

7.17 Oil and Gas Contracts. All contracts, agreements and leases related to any of the
oil and gas mining, mineral or leasehold properties and all contracts, agreements, instruments
and leases to Which the Borrower is a party, to the best of Borrower’s knowledge following a due
diligent inquiry thereby, are valid and effective in accordance with their respective terms, and all
material agreements included in the oil and gas mining, mineral or leasehold properties in the
nature of oil and/or gas purchase agreements, and oil and/or gas sale agreements are in full force
and effect and, to the best of Borrower’s knowledge following a due diligent inquiry thereby, are
valid and legally binding obligations of the parties thereto and all payments due thereunder have
been made, except for those suspended for reasonable cause in the ordinary course of business;

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and, there is not under any such contract, agreement or lease any existing default known or that
should be known to the Borrower by any party thereto or any event which, with notice or lapse
of time, or both, would constitute such default, other than minor defaults which, in the aggregatc,
would result in losses or damages of more than $100,000 to the Borrower.

7.18 Natural Gas Policy Act and Natural Gas Act Compliance. To the best of the
Borrower’s knowledge, all material filings and approvals under the Natural Gas Policy Act of
1978, as amended, and the Natural Gas Act, as amended, or with the Federal Energy Regulatory
Commission (the "FERC") or required under any rules or regulations adopted by the FERC
which are necessary for the operation of the Borrower’s businesses or the Collateral in the
manner in which they are presently being operated have been made and the terms of the
agreements and contractual rights included in the Borrower’s businesses or the Collateral do not
conflict with or contravene any such Law, rule or regulation.

7.19 Take or Pay Obligations, Prepayments, BTU Adjustments and Balancing
Problems. To the best of the Borrower’s knowledge, after diligent inquiry, there is no take or

pay obligation under any gas purchase agreement comprising a portion of the Collateral which is
not matched by a commensurate and corresponding pay or take obligation binding upon the
purchaser under a corresponding gas sales agreement such that with respect to the ownership and
operation of the business of the Borrower or the Collateral, any such obligation in favor of any
seller under any gas purchase agreement to which the Borrower is a "buyer" is matched by a
corresponding obligation on the part of "purchasers" under corresponding gas sales agreements
pursuant to which the Borrower is the "seller". To the best of Borrower’s knowledge following
a due diligent inquiry thereby, neither the Borrower nor the Collateral is subject to requirements
to make BTU adjustments or effect gas balancing in favor of third parties which would result in
the Borrower being required to (i) deliver gas at a price below that established in applicable gas
sales agreements or on behalf of and for the benefit of third parties in exchange or to otherwise
compensate for prior above market or above contract purchases of gas from the Borrower or its
predecessors in interest, or (ii) balance in kind by allowing other owners in the Collateral to
make up the past imbalances in gas sales, or (iii) balance in cash by paying other owners of the
collateral for the past gas imbalances except for the matters described on Exhibit "E" hereto
which have been disclosed to the Borrower.

7.20 Gas Purchase Obligations in Excess of Gas Sales Rights. The ownership and
operation of the business operations of the Borrower or the Collateral have not resulted or will
not result in the existence of minimum purchase obligations under any gas purchase agreement
(relating to the volume of gas to be taken thereunder or the price to be paid with respect thereto
for the duration of any such gas purchase agreement) which are not matched by corresponding
and commensurate rights to sell all such gas under applicable gas sales agreements at prices in
excess of the amount to be paid therefor under gas purchase agreements (without regard to costs
associated with transporting any such gas and risks of volume "shrinkage" occurring in the
transportation process).

7.21 Anti Terrorism.

(a) Borrower is not in violation in any material respects of any United States
Requirements of Law relating to terrorism, sanctions or money laundering (the "Anti-

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Terrorism Laws"), including the United States Executive Order'No. 13224 on Terrorist
Financing (the "Anti-Terrorism Order") and the Patriot Act.

(b) Borrower (i) is not listed in the annex to, or is otherwise subject to the
provisions of, the Anti-Terrorism Order, (ii) is not owned or controlled by, or acting for
or on behalf of, any person listed in the annex to, or is otherwise subject to the provisions
of, the Anti-Terrorism Order, (iii) does not cornmit, threaten or conspire to commit or
supports "terrorism" as defined in the Executive Order or (iv) is not named as a "specially
designated national and blocked person" in the most current list published by the U.S.
Treasury Department Oft`ice of Foreign Assets Control.

(c) Borrower does not (i) conduct any business or engages in making or
receiving any contribution of funds, goods or services to or for the benefit of any person
described in clauses (b)(i) through (b)(iv) above, (ii) deal in, or otherwise engage in any
transactions relating to, any property or interests in property blocked pursuant to the Anti-
Terrorism Order or (iii) engage in or conspire to engage in any transaction that evades or
avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
prohibitions set forth in any Anti-Terrorism Law.

7.23 Solvency. The Borrower and its entity Aftiliates and Subsidiaries (and with
respect to its entity Aft`iliates and Subsidiaries, after taking into account each entity Affiliate's
and Subsidiary's rights of contribution), on a consolidated basis, are not insolvent, the Borrower's
and its entity Affiliates and Subsidiaries' assets (and with respect to its entity Affiliates and
Subsidiaries, after taking into account each entity Aft`iliate's and Subsidiary's rights of
contribution), on a consolidated basis, exceed their liabilities, and neither the Borrower nor any
of its entity Affiliates and Subsidiaries (and with respect to its entity Affiliates and Subsidiaries,
after taking into account each entity Affiliate's and Subsidiary's rights of contribution) will be
rendered insolvent by the execution and performance of this Agreement and the Loan
Documents.

7.24 Additional Swap Agreement Representations. Each Borrower hereby represents
and warrants to Agent, Lenders and better of Credit Issuer and covenants with the Agent,
Lenders and Letter of Credit Issuer that:

(a) the rate, asset, liability or other notional item underlying any specified Swap
Agreement regarding an interest or monetary rate, or foreign exchange swap, entered into
or executed in connection with this Agreement is or is directly related to, a financial term
hereof;

(b) the aggregate notional amount of all Swap Agreements entered into or
executed by any Borrower in connection with the financial terms of this Agreement,
whether entered into or executed with Borrower or any other individual or entity, will not
at any time exceed the aggregate principal amount outstanding hereunder, as such
amounts may be determined or calculated contemporaneously form time to time during
and throughout the terms of this Agreement;

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(c) each Swap Agreement entered into or executed in connection with the
financial terms of this Agreement has been or will be entered into no earlier than ninety
(90) days before and no later than one hundred eighty (180) days after the date hereof or
of any transfer of principal hereunder;

(d) the purpose of any Swap Agreement in respect of any commodity entered
into or executed in connection with this Agreement is to hedge commodity price risks
incidental to Borrower’s business and arising from potential changes in the price of such
commodity; and

(e) each Swap Agreement entered into or executed in connection with this
Agreement mitigates against the risk of repayment hereof and is not for the purpose of
speculation

For purposes hereof, the term (i) "financial term" shall include, without limitation, the duration
or term of this Agreement, rate of interest, the currency or currencies in which the Loan is made
and its principal amount, and (ii) "transfer of principal" means any draw of principal under this
Agreement, any amendment, restructuring extension or other modification of this Agreement.

7.25 Provisions Ensuring all Sw@ Obligations are with an ECP. Each Qualified ECP
Guarantor, if any, hereby jointly and severally absolutely, unconditionally and irrevocably
undertakes to provide such funds or other support as may be needed from time to time by each
other Guarantor to honor all of its obligations and liabilities under such Guaranty in respect of
Swap Obligations (provided, however, that each Qualified ECP Guarantor shall only be liable
under this Section 7.25 for the maximum amount of such liability that can be hereby incurred
without rendering its obligations under this Section 7.25 or otherwise under such Guaranty, as it
relates to such other Guarantor, voidable under applicable law relating to fraudulent conveyance
or fraudulent transfer, and not for any greater arnount). Each Qualified ECP Guarantor intends
that this Section constitute, and this Section 7.25 shall be deemed to constitute, a "keepwell,
support, or other agreement" for the benefit of each other Guarantor for all purposes of Section
lag 18 [jA !§vL§II[ of the Commodity Exchange Act.

 

ARTICLE xiii
EX_E.U_'I_`_S__(_)_I‘;D.!‘?M

8.1 Events of Default. The occurrence of any one or more of the following events
shall constitute an Event of Default hereunder (whether such occurrence shall be voluntary or
involuntary or come about or be effected by operation of Law or otherwise):

(a) The Borrower shall fail to make any payment or prepayment of principal
or interest upon any of the Revolver Notes, or fail to pay any Swaps or other
lndebtedness after the same shall become due and payable (whether by extension,
renewal, acceleration or otherwise); or

(b) Any representation or warranty of the Borrower made herein or in any
writing furnished in connection with or pursuant to any of the Loan Documents or Swaps
shall have been false or misleading in any material respect on the date when made and

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continues to have a material adverse effect on the Borrower or its financial capacity or
business operations; or

(c) The Borrower shall fail to duly observe, perform or comply with any
covenant, agreement or term (other than payment provisions which are governed by
Section 8.1§31 hereof) contained in this Agreement or any of the Loan Documents and
such default or breach shall have not been cured or remedied within the earlier of thirty
(30) days after the Borrower shall know (or should have known) of its occurrence or
twenty (20) days following receipt of notice thereof from the Agent; or

(d) The Borrower shall default in the payment of principal or of interest on
any other obligation for money borrowed or received as an advance (or any obligation
under any conditional sale or other title retention agreement, or any obligation issued or
assumed as full or partial payment for property whether or not secured by purchase
money Lien, or any obligation under notes payable or drafts accepted representing
extensions of credit) in excess of $250,000 beyond any grace period provided with
respect thereto, or shall default in the performance of any other agreement, term or
condition contained in any agreement under which such obligation is created (or if any
other default under any such agreement shall occur and be continuing beyond any period
of grace provided with respect thereto) if the effect of such default is to cause the holder
or holders of such obligation (or a trustee on behalf of such holder or holders) to
accelerate the due date of such obligation prior to its scheduled date of maturity; or

(e) Any of the following: (i) the Borrower or any Guarantor shall become
insolvent or unable to pay its or his debts as they mature, make an assignment for the
benefit of creditors or admit in writing its or his inability to pay its or his debts generally
as they become due or fail generally to pay its or his debts as they mature; or (ii) an order,
judgment or decree is entered adjudicating the Borrower or any Guarantor bankrupt or'
insolvent; or (iii) the Borrower or any Guarantor shall petition or apply to any Tribunal
for the appointment of a trustee, receiver, custodian or liquidator of the Borrower or any
Guarantor or of any substantial part of the assets of the Borrower or any Guarantor, or
shall commence any proceedings relating to the Borrower or any Guarantor under any
bankruptcy, reorganization, compromise, arrangement, insolvency, readjustment of debts,
dissolution, or liquidation Law of any jurisdiction, whether now or hereafter in effect; or
(iv) any such petition or application shall be filed, or any such proceedings shall be
commenced, of a type described in subsection §iii[ above, against the Borrower or any
Guarantor and the Borrower or any Guarantor by any act shall indicate its approval
thereof, consent thereto or acquiescence therein, or an order, judgment or decree shall be
entered appointing any such trustee, receiver, custodian or liquidator, or approving the
petition in any such proceedings, and such order, judgment or decree shall remain
unstayed and in effect, if being vigorously contested, for more than sixty (60) days; or (v)
any order, judgment or decree shall be entered in any proceedings against any Borrower
or any Guarantor decreeing the dissolution of the Borrower or any Guarantor and such
order, judgment or decree shall remain unstayed and in effect for more than thirty (30)
days; or (vi) any order, judgment or decree shall be entered in any proceedings against
the Borrower or any Guarantor decreeing a split-up of the Borrower or any Guarantor
which requires the divestiture of a substantial part of the assets of the Borrower or any

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Guarantor, and such order, judgment or decree shall remain unstayed and in effect for
more than thirty (30) days; or (vii) the Borrower or any Guarantor shall fail to make
timely payment or deposit of any amount of tax required to be withheld by the Borrower
and paid to or deposited to or to the credit of the United States of America pursuant to the
provisions of the Intemal Revenue Code of 1986, as amended, in respect of any and all
wages and salaries paid to employees of the Borrower or any Guarantor; or

(f) Any final judgment on the merits for the payment of money in an amount
in excess of $250,000 (after exclusion of such uncontested amounts fully covered by
insurance after deduction of any deductible amount) shall be outstanding against the
Borrower or any Guarantor, and such judgment shall remain unstayed and in effect and
unpaid for more than thirty (30) days; or

(g) Any Reportable Event described in Section 7.13 hereof which the Agent
determines in good faith might constitute grounds for the termination of a Plan therein
described or for the appointment by the appropriate United States District Court of a
trustee to administer any such Plan shall have occurred and be continuing thirty (30) days
after written notice to such effect shall have been given to the Agent by the Borrower, or
any such Plan shall be terrninated, or a trustee shall be appointed by a United States
District Court to administer any such Plan or the Pension Benefit Guaranty Corporation
shall institute proceedings to terminate any such Plan or to appoint a trustee to administer
any such Plan; or

(h) Any default or event of default occurs under any of the other Loan
Documents, including without limitation, the Security Agreement, (including, without
limitation, any of the Security Instruments or other Loan Documents therein described or
defined); or

(i) Any Guarantor violates or breaches the terms and provisions of its or his
Guaranty or any Guarantor shall repudiate or attempt to repudiate or otherwise cancel or
terminate its or his Guaranty Agreement or any Guaranty shall be determined to be void
or unenforceable

(j) Any event of default, termination event or additional termination event
occurs under any Swap between Borrower or Mortgagor Affiliate and Swap
Counterparty.

8.2 Remedies. Upon the occurrence of any Event of Default referred to in Section
ml the Revolving Credit Commitment shall inunediately terminate, and the Revolver Notes
and all other lndebtedness shall be immediately due and payable, without notice of any kind.
Upon the occurrence of any other Event of Default, and without prejudice to any right or remedy
of the Agent under this Agreement or the Loan Documents or under applicable Law of under any
other instrument or document delivered in connection herewith, the Agent may (i) declare the
Revolving Credit Commitment terminated, or (ii) declare the Revolving Credit Commitment
terminated and declare the Revolver Notes and the other Indebtedness, or any part thereof, to be
forthwith due and payable, whereupon the Revolver Notes and the other lndebtedness, or such
portion as is designated by the Agent shall forthwith become due and payable, without

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presentment, demand, notice or protest of any kind, all of which are hereby expressly waived by
the Borrower. No delay or omission on the part of the Agent in exercising any power or right
hereunder or under the Revolver Notes, the Loan Documents or under applicable law shall
impair such right or power or be construed to be a waiver of any default or any acquiescence
therein, nor shall any single or partial exercise by the Agent of any such power or right preclude
other or further exercise thereof or the exercise of any other such power or right by the Agent. ln
the event that all or part of the lndebtedness becomes or is declared to be forthwith due and
payable as herein provided, the Agent shall have the right to set off the amount of all the
lndebtedness of the Borrower owing to the Agent against, and shall have, and is hereby granted
by the Borrower, a lien upon and security interest in, all property of the Borrower in the Agent’s
possession at or subsequent to such default, regardless of the capacity in which the Agent
possesses such property, including but not limited to any balance or share of any deposit,
collection or agency account. After Default all proceeds received by the Agent may be applied
to the lndebtedness in such order of application and such proportions as the Agent, in its
discretion, shall choose. At any time after the occurrence of any Event of Default, the Agent
may, at its option, cause an audit of any and/or all of the books, records and documents of the
Borrower to be made by auditors satisfactory to the Agent at the expense of the Borrower. The
Agent also shall have, and may exercise, each and every right and remedy granted to it for
default under the terms of the Security Instruments and the other Loan Documents.

8.3 Allocation of PaLnents after Event of Default, Notwithstanding any other
provisions of this Agreement to the contrary, after the occurrence and during the continuance of
an Event of Default, all amounts collected or received on or in respect of the Indebtedness (or
other amounts owing under the Loan Documents in connection therewith) shall be paid over or
delivered in accordance with any Intercreditor Agreement or if no Intercreditor Agreement is in
place, in the Agent’s discretion,

8.4 Setoff. Upon the occurrence of an Event of Default which shall be continuing,
any indebtedness from Agent, any Lender or Letter of Credit Issuer to Borrower, including
without limitation, under any general or special deposit account, may be setoff or otherwise
applied by Agent, under a general lien covering such indebtedness which is hereby granted, to
any obligation of Borrower under this Agreement to Agent, any Lender or Letter of Credit Issuer
at any time and from time to time, either before or after maturity and without demand or notice
to anyone. The rights granted by this paragraph shall be in addition to the rights of Agent,
Lenders, Letter of Credit Issuer or any of them, under statutory banker's lien or other rights of
setoff.

8.5 Non-waiver of Rights. No delay or omission to exercise any right, power or
remedy accruing to Agent upon any breach or default of Borrower under this Agreement or any
of the Loan Documents or other agreements or instruments executed pursuant hereto or in
connection herewith shall impair any such right, power or remedy of Agent, nor shall it be
construed to be a waiver of any such breach or default or any acquiescence therein, or of any
similar breach or default thereafter occurring; nor shall any waiver of any single breach or
default be deemed a waiver of any other breach or default heretofore occurring Any waiver,
permit, consent or approval of any kind of character on the part of Agent or Lenders, or any
breach or default or conditions in the making of any loan under this Agreement, or any waiver on
the part of Agent or Lenders of any condition or provision of this Agreement or any agreement

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or instrument executed pursuant hereto or in connection herewith, must be in writing signed by
Agent and shall be effective only to the extent of the provisions of such writing specifically set
forth. All other remedies, either under this Agreement or by Law otherwise afforded Agent,
shall be cumulative and not alternative

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LOAN OPERAT!ONS

9.1 lnterests in Loans/Cornmitments. Each_of the Lenders, as well as each
Lender that may hereafter become an Assignee or Credit Participant pursuant to Article X
hereof, for the amount of lndebtedness not in excess of the aggregate Revolving Credit
Commitment shall be evidenced by an additional Revolver Note(s) issued hereunder by
Borrower to the order of such additional Lender in form and content similar to the applicable
form of Revolver Notes executed by the existing Lenders (in which event such existing Revolver
Notes of the selling Lender would be reissued concurrently therewith in a correspondineg
reduced original principal amount). In no event shall the aggregate outstanding principal amount
of all Revolver Notes issued hereunder exceed the Revolving Credit Commitment Amount in all
of the Revolver Notes and Letter of Credit Exposure and the Revolving Credit Commitment,
which shall be computed for each existing Lender as more particularly set forth in Schedule I
annexed hereto, as modified, supplemented and amended from time to time in connection with
Section 10.4. The respective Percentage lnterests of Lenders as from time to time in effect and
reflected in the Register, are referred to as the Percentage lnterest with respect to all or any
portion of the Revolving Credit Loans, the Advancing Loans, the Letters of Credit and the
Revolving Credit Commitment Lenders signatory hereto have no obligation to increase the
Revolving Credit Commitment above either such Lender’s respective existing Percentage lnterest
or applicable Revolver Commitment Amount or, in the aggregate for all of Lenders, to an
amount in excess of the aggregate amount of applicable Revolving Credit Commitrnents set forth
on Schedule I, as revised and supplemented from time to time, and any future determination of
Lenders to increase their individual Revolver Commitment Amount shall be in Lenders’ sole and
absolute discretion and, if applicable, subject to such Lender obtaining Assignee(s) or Credit
Participant(s) under Article XII hereof for all amounts of the respective Revolver Commitment
Amount(s) in excess of the existing maximum amount of such amount(s).

9.2 Authority to Act. Each of Lenders appoints and authorizes Agent to act for
Lenders as agent ("Agent") in connection with the transactions contemplated by this Agreement
and the other Loan Documents on the terms set forth herein. In acting hereunder, Agent is acting
for the account of CrossFirst Bank to the extent of its Percentage Interest, and, in each such
instance Agent is also acting for the account of each other Lender to the extent of such Lender‘s
Percentage lnterest, and all action in connection with the enforcement of, or the exercise of any
remedies (other than Lenders’ rights of set-off as provided herein or in any other Loan
Document) in respect of the Collateral shall be taken by Agent in accordance herewith. Each of
Lenders now or hereafter signatory party hereto shall initially and primarily contact and deal
with Agent insofar as loan operations and remedial or other actions are concerned in connection
with the Loans, Borrower and the compliance of Borrower with their liabilities, duties and
obligations hereunder and under the other Loan Documents. The amounts payable at any time
under the Loan Documents to each Lender shall be a separate and independent debt, and each

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Lender shall be entitled to protect and enforce its rights arising under this Agreement and the
other Loan Documents and it shall not be necessary for any other Lender to be joined as an
additional party in any proceeding for such purpose

9.3 Borrower to Pay Agent. Borrower shall be fully protected in making all payments
in respect of the Revolver Notes evidencing the Loans to Agent, in relying upon consents,
modifications and amendments executed by Agent purportedly on Lenders’ behaif, and in dealing
with Agent as herein provided, Upon three (3) Business Days notice, Agent may charge the
accounts of Borrower, on the dates when the amounts thereof become due and payable, with the
amounts of the principal of and interest on the Loans, including any amounts paid by Agent to
third parties under Letters of Credit or drafts presented thereunder, commitment fees, Letter of
Credit issuance fees and fronting or processing/application fees pertaining thereto, commitment
fees, Non-Usage Fees, and all other fees and amounts owing under any Loan Document.

9.4 Lender Qperations for Advances, Letters of Credit.

(a) Advances. On the funding date for each Loan evidenced by a Revolver
Note, each Lender shall advance to Agent in immediately available funds such Lender‘s
Percentage Interest in the portion of a Loan advanced on such funding date prior to 11:00
o’clock a. m. (applicable current time in Tulsa, Oklahoma). If such funds are not received
at such time, but all applicable conditions set forth in Article V have been satisfied, each
Lender authorizes and requests Agent to advance for such Lender‘s account, pursuant to
the terms hereof, the Lender‘s respective Percentage Interest in such portion of such Loan
and agrees to reimburse Agent in immediately available funds for the amount thereof
prior to 2:00 o'cloclc p.m. (applicable current time in Tulsa, Oklahoma) on the day any
portion of such Loan is advanced hereunder; provided, however, that Agent is not
authorized to make any such advance for the account of any Lender who has previously
notified Agent in writing that such Lender will not be performing its obligations to make
further advances hereunder; and provided, further, that Agent shall be under no obligation
to make any such advance

(b) Letters of Credit. Each of Lenders authorizes and requests Agent to issue
the letters of Credit provided for in Article II and agrees to purchase a participation in
each of such Letters of Credit in an amount equal to its Percentage lnterest in the amount
of each such Letter of Credit in return for its Percentage interest of the letter of credit
issuance fees associated with such Letters of Credit pursuant to Section 2.5. Promptly
upon the request of Agent, each Lender shall reimburse Agent in immediately available
funds for such Lenders Percentage Interest in the amount of all lndebtedness to third
parties incurred by the Agent in respect of each Letter of Credit and each draft accepted
under a Letter of Credit to the extent not timely reimbursed by Borrower. Agent will
notify each Lender of the issuance of each Letter of Credit, the amount and date of
payment of any draft drawn or accepted under a Letter of Credit and whether in
connection with the payment of any such draft the amount thereof was added to the
Revolver Loans or was reimbursed by Borrower.

(c) Agent to Allocate Payments All payments of principal and interest in
respect of the extensions of credit made pursuant to this Agreement, reimbursement of

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amounts paid by each Letter of Credit Issuer to third parties under Letters of Credit or
drafts presented thereunder, Letter of Credit issuance fees, commitment fees, and other
fees under this Agreement (except only for the $200.00 standard Letter of Credit
application/processing fees of any Letter of Credit lssuer, which shall not be shared by
Lenders but shall be attributable sofer to the applicable Letter of Credit lssuer), shall, as
a matter of convenience, be made by Borrower to the applicable Letter of Credit Issuer or
Agent, as the case may be. The share of each Lender shall be credited to such Lender by
Agent in immediately available funds in such manner that the principal amount of the
Loans to be paid shall be paid proportionater in accordance with Lenders' respective
Percentage lnterests in such Loans, except as otherwise provided in this Agreement.

(d) Delinguent Lenders', Nonperforming Lenders, In the event that any
Lender fails to reimburse Agent pursuant to Section 9.4§a[ for the Percentage Interest of
such Lender (a "Delinquent Lender") in any credit advanced by Agent pursuant hereto at
a time when Borrower is not in Default hereunder, overdue amounts (the "Delinquent
Payment") due from the Delinquent Lender to Agent shall bear interest, payable by the
Delinquent Lender on demand, at a per annum rate equal to (a) the Federal Funds Rate
for the first three days overdue and (b) the sum of two percentage points (2%) glg_s the
Federal Funds Rate for any longer period, Such interest shall be payable to Agent for its
own account for the period commencing on the date of the Delinquent Payment and
ending on the date the Delinquent Lender reimburses Agent on account of the Delinquent
Payment (to the extent not paid by Borrower as provided below) and the accrued interest
thereon (the "Delinquency Period"), whether pursuant to the assignments referred to
below or otherwise. Upon notice by Agent, Borrower will pay to Agent the principal (but
not the interest) portion of the Delinquent Payment. During the Delinquency Period, in
order to make reimbursements for the Delinquent Payment and accrued interest thereon,
the Delinquent Lender shall be deemed to have assigned to Agent all interest,
commitment fees and other payments made by Borrower hereunder that would have
thereafter otherwise been payable under the Loan Documents to the Delinquent Lender.
During any other period in which any Lender is not performing its obligations to extend
credit under Article II hereof (a “Nonperforming Lender"), the Nonperforming Lender
shall be deemed to have assigned to each Lender that is not a Nonperforming Lender (a
"Performing Lender") all principal and other payments made by Borrower that would
have thereafter otherwise been payable thereunder to the Nonperforming Lender. Agent
shall credit a portion of such payments to each Performing lender in an amount equal to
the Percentage Interest of such Performing Lender divided by one minus the Percentage
Interest of the Nonperforming Lender until the respective portions of the Loans owed to
all Lenders are the same as the Percentage lnterests of Lenders immediately prior to the
failure of the Nonperforming Lender to perform its obligations under Article II hereof.
The foregoing provisions shall be in addition to any other remedies Agent, the Perform-
ing Lenders or Borrower may have under Law or equity against the Delinquent Lender as
a result of the Delinquent Payment or against the Nonperforming Lender as a result of its
failure to perform its obligations under Article II hereof,

9.5 Sharing of Pa)g_n' ents. [Intentionally omitted].

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9.6 Amendments Consents Waivers. Except as otherwise set forth herein, Agent
may (and upon the written request of the Required Lenders the Agent shall) take or refrain from
taking any action under this Agreement or any other Loan Document. No modification,
forbearance or waiver of compliance with any covenant, term or condition in this Agreement or
any other Loan Document or any Default or Event of Default shall be binding upon all of
Lenders unless consented to in writing by the Required Lenders (as calculated pursuant to the
respective Percentage lnterests specified in Section 9.1 above (other than Delinquent Lenders
during the existence of a Delinquency Period so long as such Delinquent Lender is treated the
same as the other Lenders with respect to any proposed action); provided, however, that without
the written consent of each Lender (other than Delinquent Lenders during the existence of a
Delinquency Period so long as such Delinquent Lender is treated the same as the other Lenders
with respect to any actions enumerated below):

 

(a) no reduction or waiver shall be made in (A) the amount of principal of any
of the Loans, reimbursement obligations for payments made under Letters of Credit or
any other payment obligations, (B) interest rate on the Revolver Notes, (C) the better of
Credit issuance fees (excluding, however, Letter of Credit fronting and/or
processing/application fees, the amount of which shall be within the reasonable discretion
of each applicable Letter of Credit Issuer), (D) Commitment fees or non-usage fees, or
(E) the MCR amount;

(b) no change shall be made in the stated time of payment of all or any portion
of any of the Revolver Notes or interest thereon or reimbursement of payments made
under Letters of Credit or fees relating to any of the foregoing payable to all of Lenders
and no waiver shall be made of any Default or Event of Default under Section 8.1§a!;

(c) subject to the provisions of Section 10.4, no increase shall be made in the
amount, or extension of the term, of any of the Commitments or the Collateral Borrowing
Base amount;

(d) no alteration shall be made of Lenders’ rights of set-off contained herein or
in the other Loan Documents, or of the pro rata sharing provisions of Section 10.5 or any
waterfall, payment or distribution priority provisions of the Loan Documents;

(e) no release of any Collateral, other than cash Collateral released in the
ordinary course of business or sales of business ownership interests for fair value, shall
be made in excess of $SO0,000 in the aggregate during any consecutive twelve (12)
month period (except that Agent may release particular items of Collateral in dispositions
permitted by the Security Instruments in accordance with the terms and provisions
thereof and may release all of the Collateral upon the payment in full of the Loans and all
other lndebtedness and termination or extinguishment of the Commitments without the
written consent of Lenders);

(f) no extension of the stated expiration date of any Letter of Credit beyond
the stated final maturity date of the Revolver Notes shall be made;

(g) no release of Borrower or any Guarantor shall be made; or

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(h) no amendment to, modification of or waiver to Section 2.2, Article V, this
Section 9.6, §ection 9.7, Section 10.4, the definition of "Required Lenders", the
definition of or provisions relating to determining a Lender's "Percentage Interest" or any
other provision of the Loan Documents that provides for the consent of all Lenders shall
be made,

9.7 Agent’s Resignation. Agent may resign at any time by giving at least thirty (30)
days' prior written notice of its intention to do so to each other Lender and Borrower and upon
the appointment by the Required Lenders of a successor Agent satisfactory to Borrower (so long
as no Event of Default exists). If no successor Agent shall have been so appointed and shall
have accepted such appointment within 45 days after the retiring Agent’s giving of such notice of
resignation, then the retiring Agent may with the consent of Borrower (so long as no Event of
Default exists), which shall not be unreasonably withheld, appoint a successor Agent which shall
be a Lender, Swap Counterparty or a trust company organized under the Laws of the United
States of America or any state thereof and having a combined capital, surplus and undivided
profit of at least $175,000,000; provided, however, that any successor Agent appointed under
this sentence may be removed upon the written request of the Required Lenders, Upon the
appointment of a new Agent hereunder, the term "Agent" shall for all purposes of the Loan
Documents thereafter mean such successor. After any retiring Agent’s resignation hereunder as
Agent, or the removal hereunder of any successor Agent, the provisions of the Loan Documents
shall continue to inure to the benefit of such Agent as to any actions taken or omitted to be taken
by it while it was Agent under the Loan Documents. Upon the written direction of the Required
Lenders, any Agent may be removed for cause, then the removal of any Agent for cause shall
automatically cause such Person to be removed in its capacity as the other Agent, and the
Required Lenders may appoint one or more Persons as successor Agent, contemporaneously
with, upon or after such removal

 

9.8 Concerning Agents.

(a) Action in Good Faith. Agent and its officers, directors, employees and
agents shall be under no liability to any Lenders or to any future holder of any interest in
the lndebtedness for any action or failure to act taken or suffered in good fai.th, other than
gross negligence or willful misconduct and any action or failure to act in accordance with
an opinion of its counsel shall conclusively be deemed to be in good faith. Agent shall in
all cases be entitled to rely, and shall be fully protected in relying, on instructions given
to Agent by the Required Lenders,

(b) No Implied Duties. Agent shall have and may exercise such powers as are
specifically delegated to Agent under this Agreement or any other Loan Document
together with all other powers incidental thereto. Agent shall not have any implied duties
to any Person or any obligation to take any action under this Agreement or any other
Loan Document except for action specifically provided for in this Agreement or any
other Loan Document to be taken by Agent. Before taking any action under this
Agreement or any other Loan Document, Agent may request an appropriate specific
indemnity satisfactory to it from each Lender in addition to the general indemnity
provided for in Section 9.11. Until Agent has received such specific indemnity, Agent
shall not be obligated to take (although Agent may in its sole discretion take) any such

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action under this Agreement or any other Loan Document. Each Lender confirms that
Agent does not have a fiduciary relationship to them under the Loan Documents.
Borrower confirms that neither Agent nor any other Lender has a fiduciary relationship to
them under the Loan Documents.

(c) Validity. Agent shall not be responsible to any Lender or any future
holder of any interest in the Loans and lndebtedness (a) for the legality, validity,
enforceability or effectiveness of this Agreement or any other Loan Document, (b) for
any recitals, reports, representations, warranties or statements contained in or made in
connection with this Agreement or any other Loan Document, (c) for the existence or
value of any assets included in any security for the Loans and Indebtedness, (d) for the
effectiveness of any Lien purported to be included in the Collateral, (e) for the
specification or failure to specify any particular assets to be included in the Collateral, or
(f) unless Agent shall have failed to comply with Section 9.8§a[, for the perfection of the
security interests in the Collateral.

(d) Compliance. Agent shall not be obligated to ascertain or inquire as to the
performance or observance of any of the terms of this Agreement or any other Loan
Document; and in connection with any extension of credit under this Agreement or any
other Loan Document, Agent shall be fully protected in relying on certificates of
Borrower as to the fulfillment by Borrower of any conditions to such extension of credit.

(e) Emt)lovment bv Agent of Counsel. Agent may execute any of their
respective duties under this Agreement or any other Loan Document by or through
employees, agents and attorneys-in-fact and shall not be responsible to any of Lenders or
Borrower for the default or misconduct of Agent or attorney-in-fact selected thereby
acting in good faith except for gross negligence or willful misconduct Agent shall be
entitled to advice of counsel concerning all matters pertaining to the agency hereby
created and its duties hereunder or under any other Loan Document.

(f) Reliance on Documents and Coun§e_l_. Agent shall be entitled to rely, and
shall be fully protected in relying, upon any affidavit, certificate, cablegram, consent,
instrument, letter, notice, order, document, statement, telecopy, telegram, telex or teletype
message or writing reasonably believed in good faith by Agent to be genuine and correct
and to have been signed, sent or made by the Person in question, including any telephonic
or oral statement made by such Person, and, with respect to legal matters, upon an
opinion or the advice of counsel selected by Agent.

(g) Reimbursement. Each of Lenders severally agrees to reimburse Agent, in
the amount of such Lender‘s Percentage Interest, for any reasonable expenses not
reimbursed by Borrower (without limiting the obligation of Borrower to make such
reimbursement): (a) for winch Agent is entitled to reimbursement by Borrower under this
Agreement or any other Loan Document, and (b) after the occurrence of a Default, or an
Event of Default, for any other reasonable expenses incurred by Agent on Lenders’ behalf
in connection with the enforcement of Lenders’ rights under this Agreement or any other
Loan Document.

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9.9 Rights as a Lender. With respect to any Loan(s) or advance(s) extended by them
hereunder, Agent shall have the same rights, obligations and powers hereunder as any other
Lender and may exercise such rights and powers as though it were not an Agent, and unless the
context otherwise specifies, Agent shall be treated in its individual capacity as though it were not
Agent hereunder. Notwithstanding the foregoing, Agent shall give prompt notice to Lenders and
Swap Counterparty of its exercise of any rights and powers with respect acceleration or
realization upon Collateral pursuant to any Default. Without hunting the generality of the
foregoing, except to the extent specifically provided herein to the contrary, the Percentage
Interest of a Lender serving in the capacity as an Agent shall be included in any computations of
Percentage Interests. Agent and its Affiliates may accept deposits from, lend money to, act as
trustee for and generally engage in any kind of banking or trust business with Borrower, any of
Borrower’s Subsidiaries or any Affiliate of any of them and any Person who may do business
with or own an equity interest in Borrower, any of their Subsidiaries or any Affiliate of any of
them, all as if Agent were not Agent and without any duty to account therefor to the other
Lenders,

9.10 Independent Credit Decision. Each of Lenders acknowledges that it has
independently and without reliance upon Agent, based on the financial statements and other
documents referred to in Section 3.3, on the other representations and warranties contained
herein and on such other information with respect to Borrower and its Subsidiaries or Affiliates
as such Lender deemed appropriate, made such Lender‘s own credit analysis and decision to
enter into this Agreement and to make the extensions of credit provided for hereunder. Each
Lender represents to Agent that such Lender will continue to make its own independent credit
and other decisions in taking or not taking action under this Agreement or any other Loan
Document. Each Lender expressly acknowledges that neither Agent nor any of its officers,
directors, employees, agent, attorneys~in~fact or Affiliates has made any representations or
warranties to such Lender, and no act by Agent taken under this Agreement or any other Loan
Document, including any review of the affairs of Borrower and its Subsidiaries and Affil_iates,
shall be deemed to constitute any representation or warranty by Agent. Except for notices,
reports and other documents expressly required to be furnished to each Lender by Agent under
this Agreement or any other Loan Document, Agent shall have no duty or responsibility to
provide any Lender with any credit or other information concerning the business, operations,
property, condition, financial or otherwise, or creditworthiness of Borrower or any Subsidiary
which may come into the possession of Agent or any of its officers, directors, employees, agent,
attorneys-in-fact or Affiliates.

9.11 lndemnification. The holders of the lndebtedness (including, without liirntation,
CrossFirst Bank in its corporate capacity, to the extent it is the holder of any lndebtedness) shall
indemnify Agent and its officers, directors, employees (to the extent Agent is not reimbursed by
Borrower and without hunting the obligation of Borrower to do so), pro rata in accordance with
their respective Percentage lnterests, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind
whatsoever which may at any time be imposed on, incurred by or asserted against Agent or such
Persons relating to or arising out of this Agreement, any other Loan Document, the transactions
contemplated hereby or thereby, or any action taken or omitted by Agent in connection with any
of the foregoing; provided, however, that the foregoing shall not extend to the loss of principal or
interest on the loan advances evidenced by the Revolver Notes (of such Agent(s) as one of

 

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Lenders) or to actions or omissions which are taken by Agent or such Persons in bad faith, with
gross negligence or willful misconduct

ARTICLE X
ASSIGNMENTS/PARTICIPATIONS

10.] Successors and Assigns; Lender Assignment and Participations. Any reference in
this Agreement to any party hereto shall be deemed to include the successors and assigns of such
party, and all covenants and agreements by or on behalf of Borrower, Agent or Lenders that are
contained in this Agreement or any other Loan Documents shall bind and inure to the benefit of
their respective successors and assigns; provided, however, that (a) Borrower may not assign
their rights or obligations under this Agreement without the prior written consent of Lenders, and
(b) Lenders shall be not entitled to assign their respective Percentage lnterests in the Loans or
other lndebtedness evidenced by the Revolver Notes hereunder except as set forth below in
Section 10.2.

 

10.2 Assignments by Lenders,

(a) Assiggees and Assiggment Procedures. Each Lender may (i) without the
consent of Agent or Borrower if the proposed assignee is already a Lender hereunder or
an Affiliate of the same corporate parent of which the assigning Lender is a Subsidiary,
or (ii) otherwise with the consent of Agent (which such consent will not be unreasonably
withheld and shall be deemed granted if Agent fail to object to such assignment within
ten (lO) days after notice thereof), in compliance with applicable Laws in connection
with such assignment, assign to one or more commercial lenders or other financial
institutions (each, an "Assignee") all or a portion of its interests, rights and obligations
under this Agreement and the other Loan Documents, including all or a portion, which
need not be pro rata among the Loans and the Letter of Credit Exposure, of its
Commitment, the portion of the Loans and Letter of Credit Exposure at the time owing to
it and the Revolver Notes held by it, but excluding its rights and obligations as Agent;
provided, however, that:

 

(i) the aggregate amount of the Commitments of the assigning Lender
subject to each such assignment to any Assignee other than another Lender
(determined as of the date the Assignment and Acceptance with respect to such
assignment is delivered to Agent) shall be not less than $5,000,000 and in
increments of $500,000 in excess thereof; and

(ii) the parties to each such assignment shall execute and deliver to
Agent an Assignment and Acceptance (the "Assignrnent and Acceptance") in the
form satisfactory to Agent, together with the Revolver Notes subject to such
assignment

Notwithstanding anything in this Agreement to the contrary, in no event may any of
Borrower or any of their respective Affiliates (each a "Restricted Person") constitute or
become a Lender hereunder, and any purported or attempted assignment made in

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violation of the preceding sentence to any Restricted Person shall automatically be null
and void and Without legal effect

Upon acceptance and recording pursuant to Section 10.2§d1, (which acceptance and
recording shall be deemed to occur in any event three (3) Business Days following
satisfaction of all other requirements hereunder) from and after the effective date
specified in each Assignment and Acceptance (which effective date shall be at least three
(3) Business Days after the execution thereof unless waived in writing by Agent): (x) the
Assignee shall be a party hereto and, to the extent provided in such Assignment and
Acceptance, have the rights and obligations of a Lender under this Agreement; and (y)
the assigning Lender shall, to the extent provided in such assignment, be released from its
obligations under this Agreement (and, in the case of an Assignment and Acceptance
covering all or the remaiinng portion of an assigning Lender's rights and obligations
under this Agreement, such Lender shall cease to be a party hereto but shall continue to
be entitled to any interest and fees accrued for its account hereunder and not yet paid).

(b) Terms of Assignment and Acceptance. By executing and delivering an
Assignment and Acoeptance, the assigning Lender and Assignee shall be deemed to
confirm to and agree with each other and the other parties hereto as follows:

(i) Other than the representation and warranty that it is the legal and
beneficial owner of the interest being assigned thereby free and clear of any
adverse claim, such assigning Lender makes no representation or warranty and
assumes no responsibility with respect to any statements, warranties or
representations made in or in connection with this Agreement or the execution,
legality, validity, enforceability, genuineness, sufficiency or value of this
Agreement, any other Loan Document or any other instrument or document
furnished pursuant hereto.

(ii) Such assigning Lender makes no representation or warranty and
assumes no responsibility with respect to the consolidated financial condition of
Borrower and its Subsidiaries or Affiliates or the performance or observance by
Borrower or any of its Subsidiaries or Affiliates of any of its obligations under
this Agreement, any other Loan Document or any other instrument or document
furrnshed pursuant hereto.

(iii) Such Assignee confirms that it has received a copy of this
Agreement, together with copies of the most recent quarterly or annual financial
statements delivered pursuant hereto and such other documents and information
as it has deemed appropriate to make its own credit analysis and decision to enter
into such Assignment and Acceptance.

(iv) Such Assignee will independently and without reliance upon
Agent, such assigning Lender or any other Lender, and based on such documents
and information as it shall deem appropriate at the time, continue to make its own
credit decisions in taking or not taking action under this Agreement.

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(v) Such Assignee appoints and authorizes Agent to take such action
as Agent on its behalf and to exercise such powers under this Agreement as are
delegated to Agent by the terms hereof, together with such powers as are
reasonably incidental thereto. '

(vi) Such Assignee agrees that it will perform in accordance with the
terms of this Agreement all the obligations which are required to be performed by
it as a Lender.

(c) Register. Agent may maintain at its main Tulsa, Oklahoma banking office
a register (the "Register") for the recordation of (a) the names and addresses of Lenders
and the Assignees which assume rights and obligations pursuant to an assignment under
Section 10.2§a1, (b) the Percentage Interest of each such bender as set forth in Section
§§ and (c) the amount of the Loans and Letter of Credit Exposure owing to each Lender
from time to time, provided, the failure to maintain such Register shall not affect or
release Borrower from their obligations under this Agreement or the other Loan
Documents. The entries in the Register shall be conclusive, in the absence of manifest
error, and Borrower, Agent and Lenders may treat each Person whose name is registered
therein for all purposes as a party to this Agreement. The Register shall be available for
inspection by Borrower or any Lender at any reasonable time and from time to time upon
reasonable prior notice,

(d) Acceptance of Assignment and Assumption. Upon its receipt of a
completed Assignment and Acceptance in the form of Exhibit F annexed hereto executed

by an assigning Lender and an Assignee, in exchange for the Revolver Note(s) subject to
such assignment, together with the Revolver Note(s) subject to such assignment, Agent
shall (a) accept such Assignment and Acceptance, (b) record the information contained
therein in the Register and (c) give prompt notice thereof to Borrower. Within ten (10)
days after receipt of notice, Borrower, at its own expense, shall execute and deliver to
Agent, in exchange for the surrendered Revolver Note(s), a new Revolver Note(s) to the
order of such Assignee in a principal amount equal to the applicable Comnntrnent and
Loans assumed by it pursuant to such Assignment and Acceptance and, if the assigning
Lender has retained Comrrntinent and Loans, a new Revolver Note(s) to the order of such
assigning Lender in a principal amount equal to the applicable Commitments and its
Percentage Interest in the Loans retained by it. Such new Revolver Note(s) shall be in an
aggregate principal amount equal to the aggregate principal amount of such surrendered
Revolver Note(s), and shall be dated the date of the surrendered Revolver Note(s) which
it or they replace. All such Revolver Note(s) so replaced shall be delivered by Agent to
Borrower or, altematively, at Agent’s election, marked appropriately to evidence the
replacement thereof by such replacement Revolver Note(s),

(e) Federal Reserve Bank. Notwithstanding the foregoing provisions of this
Article X, any Lender may at any time pledge or assign all or any portion of such
Lender's rights under this Agreement and the other loan Documents to a Federal Reserve
Bank; provided, however, that no such pledge or assignment shall release such Lender
from such Lender's obligations hereunder or under any other Loan Document.

 

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(f) Further Assurances. Borrower and its Subsidiaries and Affiliates shall sign
such documents and take such other actions from time to time reasonably requested by an
Assignee to enable it to share in the benefits of the rights created by the Loan Documents.

10.3 Credit Participants. Each Lender may, without the consent of Borrower or Agent,
in compliance with applicable Laws in connection with such participation, sell to one or more
commercial banks or other financial institutions (each a "Credit Participant") participations in
minimum amounts of $2,000,000.00 each in all or a portion of its interests, rights and obligations
under this Agreement and the other Loan Documents (including all or a portion of its Percentage
Interest in the Commitments, the Loans owing to it and the Revolver Note(s) held by it);
provided, however, that:

(a) such Lender's obligations under this Agreement shall remain unchanged;

(b) such Lender shall remain solely responsible to the other parties hereto for
the performance of such obligations;

(c) the Credit Participant shall be entitled to the benefit of any cost protection
provisions contained in this Agreement, but shall not be entitled to receive any greater
payment thereunder than the selling Lender would have been entitled to receive with
respect to the interest so sold if such interest had not been sold; and

(d) Borrower, Agent and the other Lenders shall continue to deal solely and
directly with such Lender in connection with such Lender's rights and obligations under
this Agreement, and such Lender shall retain the sole right as one of Lenders to vote with
respect to the enforcement of the obligations of Borrower relating to the Loans and Letter
of Credit Exposure and the approval of any amendment, modification or waiver of any
provision of this Agreement (other than amendments, modifications, consents or waivers
described in Section 9.6 as requiring the consent of each Lender).

Borrower agrees, to the fullest extent permitted by applicable Law, that any Credit Participant
and any Lender purchasing a participation from another Lender pursuant to this Section 10.3
may exercise all rights of payment (including the right of set-off), with respect to its participation
as fully as if such Credit Participant or such Lender were the direct creditor of Borrower and a
Lender hereunder in the amount of such participation, Upon receipt of notice of the address of
each Credit Participant, Borrower shall thereafter supply such Credit Participants with the same
information and reports communicated to Lenders. Borrower hereby acknowledges and agrees
that Credit Participants shall be deemed a holder of the applicable Revolver Note(s) to the extent
of their respective participation, and Borrower hereby waives their right, if any, to offset
amounts owing to Borrower from Lenders against each Credit Participant's portion of the
applicable Revolver Notes.

10.4 Additional Lenders/Increase in Comrnitments by Existing Lenders, T his
Agreement permits certain increases in an existing Lender's Commitment and the admission of

new or additional Lenders (“Additional Lenders") providing new or increased Commitments,
none of winch requires any consents or approvals from the other Lenders or Swap Counterparties
unless the (i) Revolving Credit Commitment aggregate amount is increased above

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$75,000,000.00 (provided, no Lender shall have any obligation to agree to any increase in such
Lender's Commitment), or (ii) the econonnc terms associated with such increase in the
Commitments vary from the econoirnc terms set forth in this Agreement, in each of which such
instances described in clauses (i), and/or (ii) above, each of Lenders must consent in writing.
Any amendment hereto for such an addition of Additional Lenders shall be in form, scope and
substance set forth on Exhibit G annexed hereto and shall require (i) the written signatures of
Agent, Borrower and each of the Lender(s) being added or increasing its or their Commitment(s)
and (ii) payment by Borrower to Agent for the allocable benefit of the additional or increased
Lender the Loan origination fee required by Section 2.7. In addition, within a reasonable time
after the effective date of any increase, Agent shall, and is hereby authorized and directed to,
revise and supplement Schedule l reflecting such increase and shall distribute such revised
Schedule I to each of lenders and Borrower, whereupon such revised and supplemented
Schedule I shall replace the old Schedule l and become part of this Agreement. On the Business
Day following any such increase, all outstanding Letter of Credit Exposure and Revolver Loans
shall be reallocated among Lenders (including any Additional Lender(s)) in accordance with
Lenders’ respective revised Percentage lnterests, and all breakage funding losses of each Lender
not so increasing its Revolving Credit Commitment shall be promptly paid by Borrower upon
receipt of notice from each such Lender containing a reasonably detailed calculation of the
amount thereof.

ARTICLE XI
MISCELLANEOUS

 

ll.l Notices. Unless otherwise provided herein, all notices, requests, consents and
demands shall be in writing and shall be either hand-delivered (by conner or otherwise) or
mailed by certified mail, postage prepaid, to the respective addresses specified below, or, as to
any party, to such other address as may be designated by it in written notice to the other parties:

If to the Borrower; NBI Properties, lnc.
823 South Detroit, Suite 300
Tulsa, Oklahoma 74120
Attn: Richard J. Nichols, President

If to the Agent; CrossFirst Bank
7120 South liewis Avenue
Tulsa, Oklahoma 74136
Attn: Henry Smith, Vice President/Energy Bank

All notices forwarded or submitted hereunder will be effective when hand-delivered (via
reputable courier system or otherwise by personal delivery) to the applicable notice address set
forth above or when mailed by certified mail, postage prepaid, addressed as aforesaid.

11.2 Place of Pament. All sums payable hereunder shall be paid in immediately
available funds to the Agent, at its principal banking offices in Tulsa, Oklahoma, or at such other
place as the Agent shall notify the Borrower in writing. If any interest, principal or other
payment falls due on a date other than a Business Day, then (unless otherwise provided herein)

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such due date shall be extended to the next succeeding Business Day, and such extension of time
will in such case be included in computing interest, if any, in connection with such payment

11.3 Survival of Agi§einents. All covenants, agreements, representations and
warranties made herein shall survive the execution and the delivery of Loan Documents. All
statements contained in any certificate or other instrument delivered by the Borrower hereunder
shall be deemed to constitute representations and warranties by the Borrower,

11.4 Parties in Interest All covenants, agreements and obligations contained in this
Agreement shall bind and inure to the benefit of the respective successors and assigns of the
parties hereto, except that the Borrower may not assign its rights or obligations hereunder
without the prior written consent of the Agent and the Lenders,

11.5 Governing Law and lurisdiction. This Agreement and the Revolver Notes shall
be deemed to have been made or incurred under the Laws of the State of Oklahoma and shall be
construed and enforced in accordance with and governed by the Laws of Oklahoma.

11.6 SUBMISSION TO RISDICTION. THE BORROWER HEREBY
CONSENTS TO THE JURISDICTION OF ANY OF THE LOCAL, STATE, AND
FEDERAL COURTS LOCATED WITHIN TULSA COUNTY, OKLAHOMA AND
WAIVES ANY OBJECTION WHICH THE BORROWER MAY HAVE BASED ON
IMPROPER VENUE OR FORUM M CONVENIENS TO THE CONDUCT OF ANY
PROCEEDING IN ANY SUCI'I COURT AND WAIVES PERSONAL SERVICE OF ANY
AND ALL PROCESS UPON IT, AND CONSENTS THAT ALL SUCH SERVICE OF
PROCESS BE MADE BY MAIL OR MESSENGER DIRECTED TO IT AT THE
ADDRESS SET FORTH IN SUBSECTION 11.1 HEREOF AND THAT SERVICE SO
MADE SHALL BE DEEMED TO BE COMPLETED UPON THE EARLIER OF
ACTUAL RECElPT OR THREE (3) BUSINESS DAYS AFTER MAILED OR
DELIVERED BY MESSENGER.

11.7 Maximum Interest Rate. Regardless of any provision herein, the Lenders shall
never be entitled to receive, collect or apply, as interest on the lndebtedness any amount in
excess of the maximum rate of interest pernntted to be charged by the Lenders by applicable
oklahoma Law, and, in the event the Lenders shall ever receive, collect or apply, as interest, any
such excess, such amount which would be excessive interest shall be applied to other
lndebtedness and then to the reduction of principal; and, if all other lndebtedness and principal
are paid in full, then any remaining excess shall forthwith be paid to the Borrower.

ll.8 No Waiver' Cumulative Remedies. No failure to exercise, and no delay in
exercising, on the part of the Agent, any right, power or privilege hereunder or under any other
Loan Document or applicable Law shall preclude any other or further exercise thereof or the
exercise of any other right power or privilege of the Agent. The rights and remedies herein
provided are cumulative and not exclusive of any other rights or remedies provided by any other
instrument or by law. No amendment, modification or waiver of any provision of this
Agreement or any other Loan Document shall be effective unless the same shall be in writing
and signed by the Agent and the Lenders. No notice to or demand on the Borrower in any case

 

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shall entitle the Borrower to any other or further notice or demand in similar or other
circumstances

11.9 Q)st_s. The Borrower agrees to pay to the Agent and other Lenders, if applicable,
on demand all reasonable costs, fees and expenses (including without limitation reasonable
attorneys’ fees and legal expenses) incurred or accrued by the Agent in connection with the
negotiation, preparation, execution, delivery, tiling, recording and administration of this
Agreement, the Security Instruments and the other Loan Documents, or any amendment, waiver,
consent or modification thereto or thereof, or any enforcement thereof, The Borrower further
agrees that all such fees and expenses shall be paid regardless of whether or not the transactions
provided for in this Agreement are eventually closed and regardless of whether or not any or all
sums evidenced by the Revolver Notes are advanced to the Borrower by the Lenders, Upon the
Borrower’s failure to pay all such costs and expenses within ten (10) days of the Agent’s
submission of invoices therefore, the Agent shall pay such costs and expenses by debit to the
General Account of the Borrower without further notice to the Borrower.

11.10 Participation. The Borrower recognizes and acknowledges that any Lender may
sell participating interests in the Loans to one or more financial institutions (the "Participants")
without the consent of Borrower in accordance with the provisions of Section 10.3 hereof;
provided, however, (i) such Lender's obligations under this Agreement shall remain unchanged,
(ii) such Lender shall remain solely responsible to the other parties hereto for the performance of
such obligations, (iii) any such Participant shall be entitled to the right of set-off contained in this
Agreement, and (iv) the Borrower shall continue to deal solely and directly with such Lender in
connection with such Lender's rights and obligations under this Agreement, and (v) Agent shall
retain the sole right to enforce the obligations of Borrower and Mortgagor Affiliates relating to
the Loan, the Revolver Notes and the Loan Documents and to approve any amendment,
modification or waiver of any provision of this Agreement (other than amendments,
modifications or waivers (i) decreasing the amount of principal of or the per annum contract rate
at which interest is accruing and payable on the Loan or the Revolver Notes, (ii) extending any
scheduled principal payment date or date fixed for the payment of interest on the Loan or
Revolver Notes, (iii) extending the Commitment, or (iv) releasing the Borrower from its
obligations and liabilities under the Loan Documents. The Borrower hereby acknowledges that
each Participant shall be deemed a holder of the Revolver Notes to the extent of its participation,
and the Borrower hereby waives its right, if any, to offset amounts owing to the Lenders from the
Borrower against any Participant’s portion of the Revolver Notes.

11.11 WAIVER OF ,'lURY. THE BORROWER FULLY, VOLUNTARILY AND
EXPRESSLY WAIVES ANY RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING TO ENFORCE OR DEFEND ANY RIGHTS UNDER THE REVOLVER
NOTES, THIS AGREEMENT, THE SECURITY INSTRUl\/[ENTS OR UNDER ANY
AIVIENDMENT, SUPPLEMENT, INSTRUMENT, DOCUMENT OR AGREEMENT
DELIVERED (OR WHICH MAY IN THE FUTURE BE DELIVERED) IN
CONNECTION HEREWITH OR ARISING FROM ANY BANKING RELATIONSHIP
EXISTING IN CONNECTION WITH THIS AGREEMENT. THE BORROWER
AGREES THAT ANY SUCH ACTION OR PROCEEDING SHALL BE TRIED BEFORE
A COURT AND NOT BEFORE A JURY.

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11.12 Payments Set Aside. To the extent that any payment by or on behalf of the
Borrower is made to the Agent or any Lender or the Agent or any Lender exercises its right of
setoff, and such payment or the proceeds of such setoff or any part thereof is subsequently
invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant to
any settlement entered into by the Agent or Lender in its discretion) to be repaid to a trustee,
receiver or any other party, in connection with any proceeding under any bankruptcy or other
debtor relief law or otherwise, then, to the extent of such recovery, the obligation or part thereof
originally intended to be satisfied shall be revived and continued in full force and effect as if
such payment had not been made or such setoff had not occurred.

11.13 Full Agr_eement. This Agreement and the other Loan Documents contain the full
agreement of the parties and supersede all negotiations and agreements prior to the date hereof.

11.14 Headings. The article and section headings of this Agreement are for
convenience of reference only and shall not constitute a part of the text hereof nor alter or
otherwise affect the meaning hereof,

11.15 Severability. The unenforceability or invalidity as determined by a Tribunal of
competent jurisdiction, of any provision or provisions of this Agreement shall not render
unenforceable or invalid any other provision or provisions hereof,

11.16 Exceptions to Covenants. The Borrower shall not be deemed to be permitted to
take any action or fail to take any action which is permitted as an exception to any of the
covenants contained herein or which is within the permissible limits of any of the covenants
contained herein if such action or omission would result in the breach of any other covenant
contained herein.

11.17 Counterparts. This Agreement may be executed in any number of counterparts,
all of which taken together shall constitute one and the same instrument

11.18 Conflict with Security Instruments. To the extent the terms and provisions of any
of the Security Instruments are in conflict with the terms and provisions hereof, this Agreement
shall be deemed controlling Reference is made to any Intercreditor Agreement entered into on
or after the date hereof as contemplated by this Agreement with the Swap Counterparty, and
notwithstanding any other agreement, each of the Borrower and the Agent (a) acknowledge that
it has received a copy of such Intercreditor Agreement, (b) consents to the priority of payments
and of Liens provided for in any such Intercreditor Agreement, and (c) agrees that it will be
bound by and will take no actions contrary to the provisions of any such Intercreditor
Agreement.

11.19 Recovery of Additional Costs. If any Change in Law (defmed below) shall
impose, modify, or make applicable any taxes (except federal, state, or local income or franchise
taxes imposed on Agent or the Lenders), reserve requirements, deposit requirements, capital
adequacy requirements, Federal Deposit Insurance Corporation (FDIC) deposit insurance
premiums or assessments, or other obligations which would (A) materially increase the cost to
Agent and/or the Lenders for extending, maintaining or funding the Commitments, (B) reduce
the amounts payable to the Lenders under the Commitment, or (C) reduce the rate of return on

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Lenders’ capital as a consequence of Lenders’ obligations with respect to the Commitment, then
the Borrower agrees to pay Lenders such additional amounts as will compensate Lenders
therefor, within live (5) days after Lenders’ written demand for such payment. Lenders’ demand
shall be accompanied by an explanation of such imposition or charge and a calculation in
reasonable detail of the additional amounts payable by the Borrower, which explanation and
calculations shall be conclusive in the absence of manifest error. "Change in Law" means the
occurrence after the date of this Agreement of: (a) the adoption or effectiveness of any law, rule,
regulation, judicial ruling, judgment or treaty, (b) any change in any law, rule, regulation or
treaty or in the administration, interpretation, implementation or application by any court or
administrative or governmental authority of any law, rule, regulation or treaty, or (c) the making
or issuance by any court or administrative or governmental authority of any request, rule, policy,
guideline or directive, whether or not having the force of law; provided that notwithstanding
anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer
Protection Act and all requests, rules, guidelines or directives thereunder or issued in connection
therewith and (y) all requests, rules, guidelines or directives concerning capital adequacy
promulgated by Lenders for International Settlements, the Basel Committee on Banking
Supervision (or any successor or similar authority) or the US or foreign regulatory authorities
shall, in each case, be deemed to be a "Change in Law", regardless of the date enacted, adopted
or issued.

11.20 lndemnification. Each Borrower agrees to indemnify and hold harmless Agent,
Lenders and Letter of Credit Issuer, and their respective officers, directors, trustees, employees,
agents, and advisors (each, an "Indemnified Party") from and against any and all claims,
damages, losses, liabilities, costs, and expenses (including reasonable attorneys’ fees,
disbursements and other charges) that may be incurred by or asserted or awarded against any
lndemnified Party, in each case arising out of or in connection with or by reason of (including in
connection with any investigation, litigation, or proceeding and regardless of whether such
Indemnified Party is a party thereto or preparation of defense in connection therewith) the Loan
Documents or any of the transactions contemplated herein or the actual or proposed use of the
proceeds of the Loans, except to the extent such claim, damage, loss, liability, cost, or expense is
found in a final, non-appealable judgment by a court of competent jurisdiction to have resulted
from such Indemnitied Party's bad faith, gross negligence or willful misconduct In the case of an
investigation, litigation or other proceeding to which the indemnity in this Section 11.20 applies,
such indemnity shall be effective whether or not such investigation, litigation or proceeding is
brought by Borrower, its respective Subsidiaries, directors, shareholders or creditors or an
lndemnitied Party or any other Person or any Indemnified Party is otherwise a party thereto and
whether or not the transactions contemplated hereby are consummated Borrower agrees not to
assert any claim against Agent, Lenders or Letter of Credit Issuer, or any of them, or any of their
respective directors, officers, employees, attorneys, agents, and advisors, on any theory of
liability, for special, indirect, consequential, or punitive damages arising out of or otherwise
relating to the Loan Documents, any of the transactions contemplated herein or therein or the
actual or proposed use of the proceeds of the Loans. Without prejudice to the survival of any
other agreement of Borrower hereunder, the agreements and lndebtedness of Borrower contained
in this Section 11.20 shall survive the repayment of the Loans, the lndebtedness and other
lndebtedness under the Loan Documents and the termination of the Commitments hereunder.

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11.21 Govemment Regglations. Borrower shall not (l) be or become subject at any time
to any law, regulation, or list of any government agency (including, without limitation, the U.S.
Ofiice of Foreign Asset Control list) that prohibits or limits Agent, Lenders or Letter of Credit
Issuer from making any loan advance or extension of credit to Borrower or from otherwise
conducting business with Borrower, or (2) fail to provide documentary and other evidence of
Borrower’s identity as may be requested by Agent, Lenders or Letter of Credit Issuer at any time v
to enable Agent, Lenders and Letter of Credit Issuer to verify Borrower's identity or to comply
with any applicable law or regulation, including without limitation, Section 326 of the USA
Patriot Act of 2001, 31 U.S.C. Section 5318.

11.22 WAIVER OF SPEClAL DAMAGES. EACH BORROWER WAIVES, TO
THE MAXIMUM EXTENT NOT PR()HIBITED BY LAW, ANY RIGHT SUCH
BORROWER MAY HAVE TO CLAIM OR RECOVER FROM THE AGENT, THE
LENDERS, OR THE LETTER OF CREDIT ISSUER IN ANY LEGAL ACTION OR
PROCEEDING ANY SPECIAL, EXEMPLARY, PUNITIVE OR CONSEQUENTIAL
DAMAGES.

11.23 USA PATRIOT Act Notice. IMPORTANT INFORMATION ABOUT
PROCEDURES FOR OPENING A NEW ACCOUNT. To help the government fight the
funding of terrorism and money laundering activities, federal law requires all financial
institutions to obtain, verify, and record information that identities each person or entity that
opens an account, inciuding any deposit account, treasury management account, loan, other
extension of credit, or other financial services product What this means for Borrower; When
Borrower opens an account, such Lender will ask for Borrower's name, residential address, tax
identchation number, and other information that will allow such Lender to identify Borrower,
including Borrower's date of birth if Borrower is an individual Lender may also ask, if
Borrower is an individual, to see Borrower's driver's license or other identifying documents, and,
if Borrower is not an individual, to see Borrower's legal organizational documents or other
identifying documents Each Lender will verify and record the information such Lender obtains
from Borrower pursuant to the USA PATRIOT Act, and will maintain and retain that record in
accordance with the regulations promulgated under the USA PATRIOT Act.

11.24 Cornmon Enterprise. The successful operation and condition of each of the
Borrower, its entity Affiliates and Subsidiaries (collectively, the "Loan Parties") is dependent on
the continued successful performance of the functions of the group of the loan Parties as a
whole, Each Borrower and Guarantor expects to derive benefit (and its board of directors,
managers or other governing body has determined that it may reasonably be expected to derive
benefit), directly and indirectly, from (i) successful operations of each of the other Loan Parties
and (ii) the credit extended by the Lenders to the Borrower hereunder, both in their separate
capacities and as members of the group of companies Each Borrower and Guarantor as
determined that execution, delivery, and performance of this Agreement and any other Loan
Documents to be executed by such Borrower or Guarantor is within its purpose, will be of direct
and indirect benefit to such Borrower or Guarantor, and is in its best business and economic
interest,

11.25 Not a Reportable Transaction. The parties signatory hereto acknowledge and
stipulate and Borrower represents to Agent and Lenders that the transactions contemplated by

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this Agreement do not constitute a "Reportable Event" as that term is described and defined in
regulations of the Treasury Department of the United States.

11.26 Electronic Execution. This Agreement and the other Loan Documents may be
executed pursuant to the Oklahoma Uniform Electronic Transactions Act, 12A Oklahoma
Statutes, Article 15, Sections 101 et seq., and, if so, shall be governed by such Act. Such
execution shall not affect the validity of any of the Loan Documents that are executed other than
pursuant to the Uniform Electronic Transactions Act. Such party or parties thereafter shall
forward an executed copy of such original executed document(s) to Agent.

[Signatures on following page.]

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lN WITNESS WHEREOF, the parties hereto have caused this Sccond Amended and
Restated Revolving Credit Agreement to be duly executed and delivered in Tulsa, Oklahoma,
effective as of the day and year first above written.

"Borrower"

NBI PROPERTIES, INC

    

 

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"Agent" and "Lender"

 

CrossFirst Bank

7120 South lewis Avenue
Tulsa, Oklahoma 74136
9'18.497.5225

henry.smith@crossiirstbank.com

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"Lender"

  

KrRKPATRICKB _

By:

 

Shawn lj."B'rewer, Senior Vice President

Kirkpatrick Bank

15 san 15“1 street
Edmond, Oklahoma 73.013.
405. 341. 8222

 

Credit Agreement Signature Page
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"Lender"

 

Community 'i`rust Bank
3838 Cak Law-n Avenue
Suite 1700

Dal_las, Texas 75219
214.253.2546
jhorton@ctbonline.com

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"Lender"

vALLEY~NArroNAL~ BANK

Coli.' Broo '-1¢§*“'

   

  
 

By:

al

e President

   

Vall_'ey _Nafional Bank
4912 East 8 lstSu*G.et
Tulsa, Oklahoma 741 55
19'18§524..3670
=C-`O"I_GY a“'kvn`b:'§?_._

   

Credit Agreement Signature- Page

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LIST OF EXHIBITS

EXHIBITS
Exhibit A Revolving Loan Advance Request (§ 2.3)
'Exhibit B Compliance Certificate (6.6(b))
Exhibit C Liabilities (§ 6.19)
Exhibit D Pending litigation (§ 7.2)
Exhibit E Take or Pay Disputes (§ 7. 19)
Exhibit F Assignment by Lender (10.2(d))

Exhibit G Additional Lender Commitment (§10.4)

_SLH_E_D_.U.LPLS.

Schedulel Lenders’ Commitments

Exhibits and Schedules
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EXHIBIT A

(§ 2-3)
LoAN ADVANCE RE UEST

CrossFirst Bank, Agent

7120 South Lewis

Tulsa, Oklahoma 74136

Attn: Henry Smith, Vice President
Ladies and Gentlemen:

Pursuant to the provisions of the Revolving Credit Agreement dated as of December 18,
2014, as amended from time to time (collectively, the "Credit Agreement"), between and among
NBI PROPERTIES, lNC. and N B l SERVICES, INC. (collectively, the "Borrower"), the
Lenders signatory parties thereto and CrossFirst Bank (the "Agent“), the undersigned Borrower
hereby (i) confirms and ratifies the Agent’s continuing first and prior security interest and
mortgage lien in and to all of the Collateral (including proceeds thereof) described or referred to
in the Credit Agreement or in the Security Instruments described therein; (ii) applies to the
Lenders pursuant to Section 2.3 of the Credit Agreement for a Revolving Credit Loan advance
on the Revolver Notes in the aggregate amount of $ __ ; (iii) certifies that no Event
of Default or Default under the Credit Agreement has occurred and is continuing as of the date
hereof or exists or would continue to exist but for the lapse of time or giving of notice, or both;
(iv) represents and warrants to the Agent and the Lenders that the representations, covenants and
warranties set forth or referred to in the Credit Agreement are true and correct on and as of this
date, and (v) represents to the A gent and the Lenders that the Borrower is in compliance with the
Collateral Borrowing Base and the Collateral Borrowing Base calculations and limitations set
forth in the Credit Agreement (taking into account the amount of the Revolving Credit Loan
advance requested pursuant hereto).

NBI PROPERTIES, INC., and
N B I SERVICES, INC.
each an Oklahoma corporation

By
Name:
Title:

 

 

 

(the "Borrower")

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EXHIBIT B
(6.6(b)) -Forrn of Compliance Certificate

Pursuant to the Revolving Credit Agreement dated effective as of December 18, 2014 (as the
same may at any time hereafter be amended, supplemented or modified and in effect being
herein collectively called the "Credit Agreement"), between and among N B I Services, lnc.,
and NBI Properties, Inc., each an Oklahoma corporation (collectively, the "Borrower“), and
CrossFirst Bank ("'Agent"), Borrower has reviewed its activities for the fiscal quarter ended on
, 201_, (the "Compliance Date"), and hereby represents and warrants to Agent
that the information set forth below is true and correct as of the Compliance Date (capitalized
terms not otherwise defined herein shall have the meanings assigned in the Credit Agreement):

1. Financial Covenants. R__eguired A§_tp__§
Section 6.28 Interest Coverage Ratio (minimum) 4.0 to 1.0 ___ to l.O
Section 6.29 - Funded Debt to EBlTDAX (maximum) 4.00 to 1.0 ___* to 1.0

2. Borrower hereby certifies to Agent that as of the Compliance Date:

El Schedule l attached to this Compliance Certificate sets forth a true and
complete list of all existing ISDA Agreements and Hedge Transactions of Borrower, the material
terms thereof (including the type, term, effective date, termination date, and notional volumes
and prices), the net mark-to-market value thereof, all credit support agreements relating thereof
(including any margin required or supplied), and the counter-party to each such Hedge
Transactions

E] As of the Compliance Date, Borrower has no outstanding Hedge
Transactions with any parties.

El As of the Compliance Date, Borrower has entered into no existing ISDA
Agreements with any parties.

3. The undersigned company representative hereby certifies to Agent that

the financial statements delivered with this certificate in accordance with S_e_c__tion

6.6§3[ of the Credit Agreement fairly present in all material respects the results of

operations and financial condition of Borrower as of the dates and the accounting period
covered by such financial statements;

l have reviewed the terms of the Credit Agreement and have made, or caused to
be made under my supervision, a review in reasonable detail of the transactions and
conditions of Borrower during the accounting period covered by such financial
statements;

such review has not disclosed the existence during or at the end of such
accounting period, and I have no knowledge of the existence as of the date hereof, of any

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condition or event that constitutes a Default or an Event of Default or an event that
would, with the lapse of time or giving of notice, or both, be an Event of Default;

Borrower is in compliance with the financial covenants contained in Article VI o:t`
the Credit Agreement, as demonstrated by the calculation of such covenants above;

The Revolver Notes, the Credit Agreement and the Security Instruments are
acknowledged, ratified, confirmed, and agreed by Borrower to be valid, subsisting, and
binding obligations; and

Borrower agrees that there is no right to set off or defense to payment of the
Revolver Note or any other lndebtedness (as defined in the Credit Agreement).

 

 

 

This Quarterly Compliance Certificate is dated as of , 20__

NBI SERVICES, INC. and

N B I PROPERTIES, INC.

By:
(name)
(title)

"Borrower"
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NONE

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(Assignment and Acceptance Agreement)

FORM OF ASSIGNMENT

This Assignment and Assumption (the "Assignrnent and Assumption") is dated as of the
Effective Date set forth below and is entered into by and between [Insert name of Assignor] (the
"Assignor") and [Insert name of Assignee] (the "Assignee"). Capitalized terms used but not
defined herein shall have the meanings given to them in the Revolving Credit Agreement dated
as of December 18, 2014 (as amended, restated or supplemented from time to time, the "Credit
Agreement"), receipt of a copy of which is hereby acknowledged by the Assignee. The Terms
and Conditions set forth in Annex 1 attached hereto are hereby agreed to and incorporated herein
by reference and made a part of this Assignment and Assumption as if set forth herein in full.

The Assignor hereby sells and assigns to the Assignee, and the Assignee hereby
purchases and assumes from the Assignor, an interest in and to the Assignor's rights and
obligations under the Credit Agreement and the other Loan Documents, such that after giving
effect to such assignment the Assignee shall have purchased pursuant to this Assignment
Agreement the percentage interest specified in Item 6(a) below of all outstanding rights and
obligations under the Credit Agreement and the other Loan Documents relating to the credit
facility listed in Item 5 below (the "Assigned Interest"). The aggregate Commitment (including
Letter of Credit Exposure, if the applicable Commitment has been tenninated) purchased by the
Assignee hereunder is set forth in Item 6 below.

In consideration for the sale and assignment of Commitments hereunder, the Assignee
shall pay the Assignor, on the Effective Date, the amount agreed to by the Assignor and the
Assignee. On and after the Effective Date, the Assignee shall be entitled to receive all payments
of principal, interest, reimbursement obligations and fees with respect to the interest assigned
hereby. The Assignee will promptly remit to the Assignor any interest on Loans and fees
received from the Administrative Agent which relate to the portion of the Loans or LC
Obligations assigned to the Assignee hereunder and not previously paid by the Assignee to the
Assignor. In the event that either party hereto receives any payment to which the other party
hereto is entitled under this Assignment Agreement, then the party receiving such amount shall
promptly remit it to the other party hereto.

 

 

l. Assignor:
2. Assignee: [and is an Affiliate of
[identify Lender]

3. Borrower; N B I Services, lnc. and NBI Properties, Inc., each an Oklahoma corporation

4. Administrative Agent; CrossFirst Bank, as Administrative Agent under the Credit
Agreement.

5. Credit Agreement: Revolving Credit Agreement dated as of December 18, 2014 among
Borrower, CrossFirst Bank, as Administrative Agent, and the Lenders signatory parties

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thereto ($75,000,000.00 Maximum Revolver Commitment Amount, subject to the then
applicable Revolver Commitment Amount).

6. Assigned Interest:

a. Assignee’s Pro Rata Share of credit facility %
purchased under the Assignment Agreement

b. Amount of credit facility purchased under the $
Assignment Agreement

c. Assignee’s Loans (or LC Exposure with respect to $

terminated Commitments) purchased hereunder:

7. Trade Date:

 

8. Payment lnstructions to Assignor:

Effective Date: , 201___ [TO BE lNSERTED BY ADM.INISTRATIVE AGENT
AND WHICH SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER BY
THE ADM]NISTRATIVE AGENT.]

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The terms set forth in this Assignment and Assumption are hereby agreed to:
ASSIGNOR
[name]

BY:
Title:

 

 

ASSIGNEE
[name]

BY:
Title:

 

 

Consented and Accepted:

CrossFirst Bank,
as Administrative Agent for the Lenders

By:
Name:
Title:

 

 

 

N B I SERVICES, INC. and
NBI PROPERTIES, INC.

By::

 

Name:
Title:

 

 

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EXHIBIT G

FORM OF AMENDMENT FOR AN INCREASED AND/OR
ADDI'I`IONAL LENDER COMMITMENT

This AMENDMENT is made as of the L] day of [ ], 20_, by and among NBI
PROPERTIES, INC. and N B ISERVICES, INC., each an Oklahoma corporation (collectively,
the "Borrower"), CROSSFIRST BANK, as administrative agent under the "Credit Agreement"
(as defined below) for the Lenders signatory party thereto (“Agent"), and
(the "Additional Lender"),

 

 

Borrower, Agent and certain Lenders, as described therein, are parties to a Revolving
Credit Agreement dated as of December 18, 2014 (as amended, supplemented, or restated from
time to time, collectively the "Credit Agreement"). All terms used herein and not otherwise
defined shall have the same meaning given to them in the Credit Agreement.

Pursuant to Section 10.4 of the Credit Agreement, Borrower has the right to increase the
amount of the aggregate Commitment by obtaining one or more additional Commitrnents upon
satisfaction of certain conditions This Amend;ment requires only the signature of Borrower,
Agent and the Additional Lender so long as the Maximum Revolver Commitment Amount is not
increased above the aggregate amount permitted by the Credit Agreement.

The Additional Lender is either (a) an existing Lender which is increasing its
Commitment or (b) a new Lender which is a lending institution whose identity Agent will
approve by its signature below.

In consideration of the foregoing, such Additional Lender, from and after the date hereof

shall have a **[Commitment of $ and if it is a new Lender, the Additional
Lender hereby assumes all of the rights and obligations of a Lender under the Credit
Agreement.]**

Borrower has executed and delivered to the Additional Lender as of the date hereof, if
requested by the Additional Lender, a new or amended and restated Revolver Note defined and
described in the Credit Agreement and in form, scope and substance acceptable to Agent and the
Additional Lender to evidence the new or increased Commitment of the Additional Lender.

By execution hereof, the Additional Lender agrees to be bound by the terms, provisions,
conditions and limitations of the Credit Agreement with the same force and effect as if such
Additional Lender were an original signatory party thereto.

[Signature on following page.]

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IN Wl'I`NESS WHEREOF, Agent, Borrower and the Additional Lender have executed

this Amendment as of the date shown above.

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NBI PROPERTIES, INC. and
N B I SERVICES, INC.,
each an Oklahoma corporation
By:
(name)
(title)
"Borrower"
l l
By:
(name)
(title)
"Additional Lender“
CROSSFIRST BANK
By:
(name)
(title)
“Agent"

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SCHEDULE I
LENDERS’ COMM].TMENTS
Lender Percentage Held Revolver Commitment

CrossFirst Bank 40.00% $20,000,000.00
Community Trust Bank 30.00% 15,000,000.00
Kirkpatrick Bank 20.00% 10,000,000.00
Valley National Bank 10.00% 5 000 000.00
TOTALS 100.00000% $50,000,000.00

Schedule I
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